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             EXHIBIT 38 -
             REDACTED
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July 9, 2019

Dear Judge Allison Burroughs;

I met John Kapoor at a Holiday Dinner for Editha House when I had just been hired. On
that particular night, I recall him saying with such passion what Editha House meant to
him, why he started it and that he would like to see an Editha House next to every major
cancer center in the US. He had witnessed family members sleeping in waiting lounges,
vehicles, benches, anywhere they could catch a few minutes of sleep to be close to
their loved one but did not have the means for affordable accommodations, if they even
existed. We were "the flagship" and he dreamed of the Houses being modeled after us
because of what we can do to train others and because of the need for places like
Editha House. He encouraged us to let him know what was needed/wanted by the
patients and caregivers so he could help with their journeys since he had the means to
assist people.

On multiple occasions at Editha House (EH) where I generally work the mid shift, I
would receive a call to expect a delivery since Dr. Kapoor was purchasing dinner for the
house. These surprise dinners were always greatly appreciated and often the better part
of many conversations the following week. Cancer observes no Holidays. There is
generally a holiday meal provided for those unable to travel home or be with family. On
some Holidays, John Kapoor would come to EH and speak words of encouragement to
patients and caregivers. I can't begin to tell you the number of people that have come
into my office and expressed their gratitude toward Dr. Kapoor because of EH. I could
probably provide dates and names based on our daily logbook but it's probably a moot
point since many are no longer with us. The tagline for EH, where tranquility resides,
rang true to them because they had no idea where they would have stayed or what they
would have done without EH during their treatment. They felt safe, comfortable,
confident, and for a short period of time, they could relax and forget about their journey
that lies ahead or what the future might hold.

On several occasions over the years, I have had the opportunity attend and photograph
special moments. I recall one instance on his grand-daughters first birthday. Vivian, all
smiles, was crawling on the floolf to him to open a gift he had for her - a kitchen timer
from Sur La Table. It was fun and exciting to see a simple gift from a scientific mind to
encourage the development of a future scientific mind.

As a privately funded foundation funded solely by him, Editha House needs a
substantial amount of resources to operate. He never has qualms about the resources
that are needed to run ; he just wants a high enough occupancy rate to justify the
expenditures. His concerns are not how much money is going out on operating costs, it
is how many people are we assisting, where are they coming from, how are they getting
referred to us and what types of cancer are being treated.
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There have been 1184 patients that have stayed at EH , some multiple times for a total
of 1459. Patients and caregivers have stayed at EH for a total of 29,768 nights since the
doors opened in 2011 through May 2019. They have come from every state with the
exception of DE, and from 18 countries. EH occupancy rates often surpass those of
major hotels in the area, even during the summer when vacancy rates are high. Cancer
doesn't care if it's 115 outside.

We all have special gifts. As a scientist, John Kapoor is disciplined, idealistic, generous,
empathetic, supportive, and innovative to name a few. Unfortunately, what he has in
some of these areas he lacks in technological expertise. He is technologically
challenged. When he was indicted, I was asked if I would be willing to help out on a
contractual basis to assist with the email correspondence, research and anything else
that might be needed due to the volume of litigation correspondence he was receiving . I
willingly signed a non-disclosure agreement and helped out with whatever and
whenever it was needed. Most were emails, but there were several occasions where I
would go to his office log in on his computer to make sure he was setup for a video
conference. It was not a difficult thing to do, but his lack of confidence with technology
was heartbreaking. This man has many, many talents, and probably has some talents
that have not yet been tapped. I cannot believe this brilliant man's lifelong career is in
jeopardy.

Sincerely,
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             EXHIBIT 39 -
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                  ~ BHARATIYA SAMAJ SEVA KENDRA
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                                                          TO WHOM IT MAY CONCERN



         Bharatiya Samaj Seva Kendra (BSSK) was founded in Pune in 1979, to offer care and
                                                                               1




         protection t o vulnerable orphaned, and destitute children. We strongly believe that
         i nstitutjonal care cannot be a substitute to the care a child mav re·ceiv,e ini a
         family. Thus our org;31ni zation l1as had a foster care and adoption program since the
         early 80's and our exp,erjence with this allows us 'to understand their scope and
         importance. OU1r main goal is to, provide these chi1   ldren with permanent, stable and
         secure homes. \JVe also provide eQucation and other related services t o children and
         fam ilies in the community in need., irrespective of caiste, creed, community or religion .




         In late 1993 and in 1999 Or. Kapoor wish ed to give BSSK a generous donation LO help
         th e many orphaned/destitute children w ho come into our care. With this i1n view and
         as per our needs we started the 'Kapoor Ne a-natal Unit'. This Nee-natal Unit has
         helped hundreds of little preterm and underweight babies who came into our care.
         Warmers, phototherapy units and special ized intensive care services saved many
         lives. This helped them to overcome their i nitial handicaps and greatly i mproved their
         health, maki ng it possible for these chi ldren to have a better and more secure future
         through adoption.
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The Neonata l Unit continues to give support to many needy babies w ho come into
our care . We consider th is to be a blessing to our organization from Dr. John Kapoor.

While Dr. Kapoor generously donated the infrastructure for the Neonata l Unit, in
2011 the India based family Trust "Gunvati J Kapoor Med ical Relief Charitable
Foundation" also gave us financial aid to help run the Unit. We received support for
mil k, medicines, hospitaliza tion of the babies and also for expenses towards Nurses'
remuneration . We also often learnt from tine Kapoor's daughter Christina about the
fam ily's contribut ions to th e patients of the Tata Memor ial Cancer Hospital in
M umbai.

We were deeply saddened to -hear about the death of Dr. Kapoor's dear wife Edith
Kapoor to cancer.

Dr. John Kapoor always came across as a modest, generous, soft spoken, and family
o riented gentleman. He believed .. in phila nthropy and contribution to social causes.
BSSK was one of the for tunate beneficiaries of his generosity.

Our best w ishes and gratitude would always be with him and his family.



~Yo1t\C' ~
M rs. Rox'llna Kalya nvala
Executive Di rector
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 Honourable   1:16-cr-10343-ADB
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 lam Ganesh Krishnan, a resident from the city of Thane (near Mumbai). lam currently an employee
 of Gunvati J. Kapoor Medical Relief Charitable Foundation (hereinafter GJK Foundation) designated
 as "HR & Finance Manager". My relationship with this foundation started 5 years ago. Before this I
 was working for a firm which was not even close to my field and was in <lire need of a job. I have
 always wanted to work with an NGO to understand how they function when the fact is there is no
 profit in any manner, how help is given to the needy and how does this impact the beneficiaries and
 also the NGO itself.

 With all this urge to know, gain knowledge and deliver my best, I was looking for a job in an NGO
 and I got an opportunity to work with the GJK. Foundation. Being from the field of Accounts and
 Finance in which I completed my Masters, I joined as the Adrnin and Finance Manager. The NGO
 gave complete support to me right from the start as technically this was my first proper job I can say.

              st
 During the l year of my employment, in December I got a chance lo meet Dr. John Kapoor in an
 Annual Meeting of GJK Foundation. The moment I met him, I got caught in an aura of positivity,
 humbleness and kind personality.

Dr. John Kapoor said, he started his journey from Amritsar, Punjab to Mumbai, Maharashtra to
pursue his undergraduate with Guru Nanak Khalsa College in the area of science and post grad. He
proved, action always makes one achieve one's dream; and his journey went international when he
received a fellowship from the University at Buffalo School of Pharmacy and Pharmaceuticals from
where he completed his doctorate. He said, that the struggle had only just begun, and his vision was
to give back to society, people and his motherland. The only thought that hit me in my mind when I
heard this was "Winners Never Quit, Quitters Never Win". With beautiful personality I saw this
magnanimous hearted person who earned money, yet was humble, kind, generous and loving.

This vision proved true, which I can convey seeing his kindness that envisages me to work for a noble
cause and also through the opportunities I attended a number of workshops and trainings that has
enlightened me to perform better and be an asset for the foundation.

My first big opportunity crune after the earthquake in April 2015 in Nepal. Dr. Kapoor made a
donation to Akshaya Patra Foundation and he asked to go to Nepal to understand and monitor their
work and work right with them in feeding people who were affected by the earthquake. My visit to
Nepal was an emotional one, seeing people who lost not only their homes, but all valuables, money,
identities everything, including loved on.es who got buried in the debris. I got nearer to being humane
that day and yes, I consider myselflucky for being chosen by Dr. Kapoor to meet earthquake affected
people, talk to them, understand and monitor the quality of food, quantity, packing and distribution
and make sure those people were being helped as best we could. Another colleague went with me
and wc worked long hours to help those families suffering. The donation, given by Dr. Kapoor,
showed me how generous he is and his big heart for the people who are in trouble.

Another opportunity given to me was being able to attend and receive a "Compliance Certification
Course" conducted by the 'Centre for Advancement of Philanthropy' where I acquired in-depth
knowledge of all policies that is required by law for our foundation to be in good standing. We are
one of a few foundations in India with this standing and I am proud of that.
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The values      1:16-cr-10343-ADB
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                   Foundation are Dr. John Kapoor'1070-2     Filed
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                                                                                 encourage  us to work
and contribute to his noble cause. GJK foundation has a number of programs; "Patient Guidance
Program" being the biggest as it is being formulated in Mumbai and Amritsar. This program focuses
on helping and guiding the cancer patients complete their treatment, increase survivorship by
reducing abandonment rates. Dr. John Kapoor understands the pain that people go through during
cancer and the loss; as he lost his mother and wife to it. This is his want, to help the needy and his
wish that the cancer patients become survivors and win over death, and not abandon their treatment,
thus our staff; volunteers in the Tata Memorial Hospital, the largest Government Cancer Hospital in
India (Mumbai), and Sant Guru Ram Das Charitable Hospital and Guru Nanak Dev Hospital
(Amritsar).

Dr. John Kapoor has provided students with scholarships at the schools he attended in India. As the
saying goes in India, "Today's Youth are Tomorrow's Future". The students who receive our
scholarship intern with our Foundation & other NGOs and learn about social responsibility. Dr. John
Kapoor has also given scholarships to cancer survivors enabling them to be self-sufficient, confident
and independent. In India, if you are diagnosed with cancer it is hard to survive and often times the
cancer survivor can't find a job, get insurance, or be seen as someone not to be associated with. Dr.
Kapoor has supported and hired many young cancer survivors to work with our foundation giving
them an opportunity to have a good income, be respected and have medical insurance, and a
retirement plan that Dr. Kapoor has provided by his donation to our fotmdation.

I see Dr. John Kapoor as an idol for his greatness that he does, struggles he has faced and overcame,
his fantastic journey and more importantly his determination, vision and idealistic approach that
made him reach the level he has come. He is a kind man who cares about us. We feel a part of his
family.

My writing about him is as one of the values our Foundation has; "Transparent''; and Pure. Whatever
judgement is passed by the honourable court, as an honest and law obeying Indian, I respect it. My
humble word is to ask you kindly to consider his accomplishments throughout his life and his age
when taking any actions in his case.

Thanking you for your valuable time.

Yours Sincerely,


  ~           '
Ganesh Krishnan
HR & Finance Manager
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    Case 1:16-cr-10343-ADB Document 1070-2 Filed 12/18/19 Page 11 of 108




June 6, 2019

Dear Honorable Judge Allison Burroughs,

My name is Christina Lopez. I met Dr. Kapoor in 2011 when he and his
C.E.O. Mary Gauwitz, came to tour The Wellness Community-AZ (now
known as Cancer Support Community). I worked there as the
Community Resource and Outreach Coordinator for 13 years. It is a
national, non-profit organization that provides cancer patients and
their families with FREE psychosocial support groups, educational
workshops, yoga, nutritional health and many other wonderful
resources.

I had no idea who John Kapoor was when they arrived. They only said
they were interested in finding out about our organization. He was
quiet and seemed shy. I thought he might have just been diagnosed
with cancer and Mary was his caregiver. I showed him around and
explained everything we could offer him. I took him for the tour out to
the back area where most of classes were held while Mary, stayed
inside speaking with our staff. I talked the whole time and then asked
him if he had any questions. He asked if we helped all the cancer"
patients or had restrictions. I thought he was asking for himself, so I
asked him to consider attending a newcomer's orientation meeting. At
that point he shared he was opening a hospitality house for cancer
patients and their families/caregivers to stay in while they travel to
Phoenix to receive treatment in clinics and hospitals here. He wanted
to ensure all the patients, which would be staying at his place/ Editha
House, would be able to come and receive services at The Wellness
Community as well.

To this day, I remember the feeling I had in my throat when he shared
his thoughts and plans with me. I then shared with him that my
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husband and I had to travel out of town and stay at a hospitality house
with my 7-year-old son Ricky, who needed to receive a Bone Marrow
Transplant. I explained how it was so important to us to have a safe
place to call home, when we were so far away from home. I realized I
caught him a little off-guard, I could also see he didn 1 t know if he
should ask how my son was doing... l then shared, unfortunately my son
did not survive the cruelty of the disease. Your Honor, Please know that
I do not share my personal experience with people who just walk in off
the streets and meeting for the first time, but with Dr. John Kapoor, he
was so humble, quiet and unassuming. I felt his goodness. He was so
proud to be opening such a needed and wonderful place in his wife's
honor. I remember saying, I wished I could have had the funds to do
something like this, in my son Ricky's name. How honorable!

As we walked back to the main house, he gave me his condolences for
my loss of my only son and said something to the fact of chemo being
so tough. I then shared, I had just finished the cancer journey myself,
going through chemo, surgery and radiation. He stopped and looked at
me in disbelief, then his face showed happiness for me to have survived
my cancer.

Dr. Kapoor never shared anything more than the goal of opening a
hospitality house for cancer patients.

I never had a clue, that soon, after that very day, I would be working for
this wonderful human being, helping him keep his wife 1 s legacy alive.
What I did know, on this day was that we spoke the same language.
Meaning, we both understood, what it was like to lose the love of our
life!

I later learned from Mary, when they walked out of our doors, Dr.
Kapoor said to Mary, "We need someone like her to help the patients
staying with us. We need someone who understands what they are
going thru".
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In October of 2011, I started working with Dr. Kapoor at Editha House.
In November on our Grand Opening Day, Mary and Dr. Kapoor
announced they were dedicating a room in my son's name, Ricky Lopez
to my surprise. I broke down and cried never expecting such a kind and
thoughtful gesture.

Your Honor, this is how wonderful and giving,· Dr. Kapoor is with
everyone.

Dr. Kapoor is very trusting. In the eight years that I have been working
at Editha House, Dr. Kapoor has visited the office on my shift several
times.

Editha House, since inception, has helped an average of 173 families
each year, who have been diagnosed with a fatal disease.

Your Honor, I am a cancer survivor. I had days in which I was in
excruciating bone pain. I only wish I would've had access to the
medication Subsys, which Dr. Kapoor had invented. I held my son as he
died in my arms, screaming and crying from the pain of cancer. If there
was a children's version of Subsys, there is no doubt, I would have
asked for it for my son .

I am a very good judge of character and I know Dr. Kapoor is a blessing
to this world. I hope you will please consider my words and opinions of
Dr. Kapoor.

Thank you for taking your time to read my letter.




Christina Lopez, Cancer Survivor!
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              EXHIBIT 42
         Case 1:16-cr-10343-ADB Document 1070-2 Filed 12/18/19 Page 15 of 108




 Dear Honorable Judge Burroughs,



 I am Nivedita Mishra, a citizen of India, working as Communications Manager with Gunvati
 Jagan Nath Kapoor Foundation since 2015.

 As Communications Manager, I take care of the internal and external communication of the
 Foundation, and also oversee the planning and execution of two other programs. First
 program is called 'Maatrutva' where our goal is to impart knowledge to pregnant women
 from underserved communities so that they make better health choices and undergo a
 delivery in a hospital where it is safer. Our second program is 'Gunvati Jagan Nath Kapoor
 Young Achievers Scholarship'. We provide scholarships and an opportunity to students who
 have a financial need and are motivated and interested to intern with our foundation. This
 program aims at enhancing and imparting skills in students needed for the professional world
and to build social sensitivity while working for different causes with us.

 Before joining the Foundation, I worked as a senior crime and political journalist with one of
the top national news channels in India - 'Zee News'. I left the glitter and glamour of the
media world 4 years back to make a difference. I was a fairly accomplished journalist when I
left my job, but my industry was unable to provide me with satisfaction of ethical values that I
was born and brought up with. One of the interns placed under me at Zee News knew about
my inclination towards social work and informed me about an opening with 'Gunvati Jagan
Nath Kapoor Foundation' in 2015. I was called for an interview and was offered a job the very
same day. I didn't know much about the Foundation then, but as soon as I entered the
Foundation's office I could sense genuineness. It was the passion and dedication of the
people in t he office t hat compelled me to leave my lucrative and high-end job and accept a
job w ith t he Foundation.

I was oriented about the va lues of the Foundation on my very first day at job. It was brought
to my attention that t he values and o ur programs were based on the personal learnings and
experiences of Dr. Kapoor. The 'Patient Guidance Program' - t he biggest program of the
Foundation focuses on cancer patients who receive t reatment at t he largest Govern ment
Cancer Hospit al in all of India, Tata Memorial. We also work in two cancer hospitals in
Amritsar where Dr. Kapoor grew up. Our staff guide cancer patients to available resources so
t hat they com plete and sustain their treatment. Working so closely with cancer patients
comes from the fact that Dr. Kapoor lost his w ife to cancer . Also, many patients were
abandoning treatment and after we started working w it h t hem, this has decreased
dram atically.

Our Foundation also gives scholarships to students at t he two top colleges in Mumbai, with a
sole intension of not only helping the needy students during t heir tough times, but also to
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 cultivate social sensibility at a very young age. Young, talented, emotionally equipped and
 socially sensible minds are the real future of any country.

 In my 6 years long career as a journalist I have interviewed and known ample successful
personalities and understand that modesty and benevolence are not directly proportional to
monetary accomplishments. Dr. Kapoor's generosity and selflessness has inspired me from
day one in this Foundation. His sheer passion towards the betterment of the needy is
something that has motivated me in many ways. His vision towards giving a better-quality life
for women and children from the underserved communities has made me realize that life is
not all about reaching greater heights but also making others capable enough to follow their
dreams. As human beings we become busy to achieve our goals but Dr. Kapoor made sure
that we are not alone in this journey.

Dr. Kapoor has been supporting many deserving students, to chase their passion and help
them become who they aspire to be.

He has provided opportunities to cancer survivors in Mumbai to become independent and
confident by giving them jobs. Many employees working in the Foundation today do not
come from well to do families but their job gives them financial stability and a new meaning.
Dr. Kapoor also made sure our staff has health insurance and retirement benefits and can
take classes to better themselves. He cares about giving us an opportunity at a better life.

As an individual I am more responsible and giving towards my society because of Dr. Kapoor. I
now know that the true measure of a man's personality is not measured with his bank
accounts but the value one can bring in the life of others in need, that money may come and
go; but morality comes and grows. A younger Nivedita used to believe in monetary gains and
financial success, personalities like Dr. Kapoor taught me that money holds no value unless
used for someone's good. Dr. Kapoor is undoubtedly one of my role models. I have never met
a man so successful yet working hard, day in and out not to grow his business but to help
people back in his country and in the USA.

We are living this Foundation through Dr. Kapoor, we have imbibed his values as ours, we
have made this Foundation into our family and his mission is now ours.

I sincerely request that the honorable court take Dr. Kapoor's age and all his great work
throughout his life into account.



Respectfully yours,




Nivedita Mishra

Communications Manager, Gunvati Jagan Nath Kapoor Foundation
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              EXHIBIT 43
                 Case 1:16-cr-10343-ADB Document 1070-2 Filed 12/18/19 Page 18 of 108
June 22, 2019



Dear Judge Burroughs,

My name is Jackie Mullins. I am writing you in regard to Dr. John Kapoor.

I became ill with a rare form of cancer and needed to relocate closer to the hospital for treatment. The Editha House took us in. My
husband had to quit his job to become my caregiver which put us in a bind financially. Dr Kapoor opened his home (Editha House) up
to us for free. All total we stayed for about a year. Dr Kapoor not onie time ever asked us for money. We were not the only ones
being helped. There were many others.

lam attaching a picture of me with Dr. Kapoor at Easter when he came to visit before I lost my leg. A few months later, from the
thigh down my leg was amputated and I am now in a wheelchair. When Dr. Kapoor learned that I didn't have any comfortable
sneakers and that I could not afford them Dr. Kapoor made sure I had not one but two new pair. I am also attaching a photo of me
with the shoes Dr. Kapoor purchased for me.

I really do not know what I would have done had it not been for Dr. John Kapoor's generosity and kindness not only with providing
us with a secure place to stay, providing us with food, and providing me with comfortable shoes to walk. He helped save my life and
for that I will be forever grateful.

Sincerely,




Jackie Mullins
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June16, 2019

Dear Judge Allison Burroughs,

My name is Kathleen Sunshine O'Brien and I am writing to you to let you know what an
amazing giving man Dr. Kapoor is.

I met him back in 2012 when my sisters and I were all diagnosed one by one with breast
cancer. I live in Palm Desert, California and had to go to the Mayo Clinic in Phoenix, Arizona
for my surgery and treatment.

After spending my savings on my sisters' medical bills for their breast cancer treatments, I
needed help and a place to stay while being treated at the Mayo Clinic in Phoenix and that's
when I learned about Editha House.

During my time at Editha House, I saw Dr. Kapoor go above and beyond helping people. One
couple, Scott and Stacy had just lost their home to foreclosure when Scott was diagnosed
with colon cancer. Scott was a semi truck driver and he and his wife were planning on
sleeping in his semi truck (in the parking lot at the hospital) where he was getting treatment.

When the hospital found out, their social worker reached out to Editha House and explained
to the staff that there was a couple living in their truck in the hot Arizona summer heat. They
explained that Scott was undergoing radiation treatment and was instructed by his doctor to
avoid the sun. Scott and his wife stayed at Editha House during his treatment and Dr.
Kapoor even allowed them to stay at Editha House for several months after until they got
back on their feet and found a home. He even made sure they had groceries.

I remember Scott and Stacy told me that they would have been hungry and homeless in the
114-degree heat if it weren't for Dr. Kapoor's help.

I also remember a woman named Ellen, was getting breast cancer treatment and was staying
at the same time I was. During treatment she broke her back and had to have life
threatening surgery where she coded 4 times. When it was time for her to leave Editha House
and go home to Colorado, it was too risky for her to drive. Dr. Kapoor personally paid for her
ticket to fly home and personally paid to have the CEO of Editha House travel with her to
ensure she wasn't alone and got home safely.

Editha House is a p lace that gave us all hope and comfort, it was our home away from home.
Dr. Kapoor always had the downstairs kitchen full of food and he always made sure we had
all we needed. If I didn't stay at Editha House, it would have cost me over $100,000 to stay in
a hotel during the time I was receiving treatment.

John Kapoor is an amazing giving man who helped people all over the world whether it be a
children's hospital, battered womens shelter, or to people in rural areas of the world, he was
there to help and give.

When I met him, I said he was the male version of Mother Theresa. I remember meeting one
of his staff members while eating at his restaurant and they told me about another staff
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 member who couldn't have children, which was their dream. They couldn't afford adoption
 fees, so John gave them the money to adopt 2 kids.

 Only a person with a huge loving giving heart would do this.

 I know that John will continue to help people if you give him that chance because that is just
 the kind, amazing, and loving man he is. He has made a huge positive impact in this world
 and mine.

Thank you for your time.

 Sincerely,                         ,

--<Yc t t t ~ ~
 Kathl~en Sunshine O'Brien
 Former Patient at Editha House
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May 23, 2019

Your Honor Allison Burroughs:

I am writing to urge leniency in the sentencing of John Kapoor.

I have had the pleasure of knowing John since 2014 when I travelled to Phoenix Arizona
for the premier of my Hollywood film Decoding Annie Parker at the Scottsdale Film
Festival.

Between our respective life-journeys and cancer struggles John and I had a heart
wrenching, lengthy conversation on what I wanted to accomplish with the yet to be
created Annie Parker Foundation and his desire to develop a drug to ease the pain and
suffering of cancer patients. The pain and suffering he witnessed through the breast
cancer journey of his wife, Editha, and a pain that I can relate to as a three-time cancer
survivor.

John also recognized the incredible work of Dr. Mary-Claire King, a distinguished
scientist, by donating $2 million for her research. Dr. King's many accomplishments
include identifying BRCA 1 and BRCA2, breast cancer genes, a discovery that changed
the way the world thinks about cancer. John's donation of $2 million to Dr. King's
research was huge and put a smile on the faces of many cancer patients like myself
who have a family predisposition to breast cancer.

Although John and I had never met before 2014, he saw my struggles with not only
finding the funds to complete my Foundation's dream to help other cancer patients, but
with the financial struggles of my own day-to-day living. Within a few weeks of returning
to Toronto, I received a cheque in the mail from John for a substantial amount of
money. No questions asked! I was so in awe of his gratitude, I actually slept with the
cheque under my pillow and once again John had put a smile on my face! No one has
ever been so kind to me.

I feel incredibly lucky to know John Kapoor. He has been an inspiration to me moving


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➔   ,..   •• ;




                 forward with my newly created Foundation which supports and empowers cancer
                 survivors and their families.

                 I find the charges against such a compassionate and caring individual
                 incomprehensible! John is a phHanthropist who is a lover of humanity; a person who
                 offered me support back in 2014 to fulfil my dream of giving back to my cancer
                 community here in Toronto through my foundation. A human being that founded The
                 John and Editha Kapoor Charitable Foundation, which supports the fight against cancer
                 and Editha House a place for cancer patients to live while in treatment.




                 Founder and CEO, Annie Parker Foundation




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June 16, 2019


Dear Judge Allison Burroughs,

My name is Aparna Raval and I came to the USA from India in April 2016 for medical treatment with
my husband Sridhar Rajagopalan. I had been in touch with doctors at St. Joseph’s Hospital in Phoenix
who had determined that I was suffering from a lung disease whose only treatment was a double
lung transplant. My condition was so serious that I was assigned a donor as soon as May 9th and my
lung transplant was performed successfully.

Since we were completely new to Phoenix (and the US, in fact), we had to find a place to stay. The
social worker from the hospital told us about Editha House which she introduced as a recovery home
for cancer and lung transplant patients. My husband visited it and found it clean and affordable.

Having been in the hospital for 3 weeks and undergone a major surgery, I was frankly, a bit
apprehensive and hesitant to step out even though my husband told me that Editha House was very
good. But as I took my first step inside and then when I entered the room allotted to us, the very
first feeling was one of immediate calmness, purity in the air and a soothing and clean environment.

I went on to stay at Editha House for 3 months and as I have written elsewhere too, credit it with
much of my smooth and quick recovery following my surgery!

Many things made Editha House stand apart – it was close to the hospital in case we had to rush for
any emergency, the focus on cleanliness was superb, the availability of in-house services like the
laundry and the quality of the maintenance were superb and lots of daily use stuff (like food, grocery
and personal hygiene products) could be picked up for free from the lobby or kitchen. A few times
each week volunteers would come and organize a breakfast, lunch or dinner for the residents –
something I looked forward too not only for the meal but the opportunity to interact with other
patients. During my entire stay in Editha House, I never missed a community meal and enjoyed each
one of them. My room too had nice and convenient furniture with appliances that were extremely
convenient and thoughtfully provided making it truly feel like a home away from home.

It was not just about the facilities but the people at Editha House were very kind and supportive. My
husband and I are strict vegetarians and do not eat meat or fish. But the staff and volunteers at
Editha House took special care and ensured that there were vegetable salads, fruits, juices, desserts
at every meal. And even if someone missed a meal (or didn’t feel like attending) the staff
encouraged them to come later and take the food to their rooms or brought it to the patients’ room
if they were not able to come to the dinner.

It was during our stay at Editha House when I got to meet Mary and heard of Dr. John Kapoor and his
wife Editha after whom the facility was named. Thru, Mary we learned of Dr. Kapoor’s generosity in
the idea behind Editha House and the love and care he put into creating, designing and running it.

We stayed in Editha House from May to August 2016. When we were able to leave we moved 2
hours away to Tucson, Arizona for 1.5 years. When we had to return to the hospital in Phoenix for
tests, we would stay in Editha House. There was one trip in which we stayed for 5-6 days and our
stay fees were waived as we were facing some financial uncertainty.
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When there were some delays related to my visa extension, the team at Editha House helped us
seek support from Senator McCain’s office, and that helped the visa decision be taken expeditiously.

Our interactions with Editha House and its people and their role not just in my recovery but in going
out of their way to help at every turn, I believe, is inspired by Dr. Kapoor himself and his leadership
and direction.

My husband and I will always remain grateful for all of this. If our experience and this note helps
provide a perspective from someone whose lives have been positively touched by his actions, we will
be happy about that.


Sincerely,


Aparna Raval
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Honorable Judge,

I introduce myself as Mr. Chetan Chandrakant Shinde, a citizen of India, born and brought up in
the city of Mumbai. Before I share about my work experience and how I was given a chance to
prove myself and how Dr. John Kapoor inspired me, I will talk briefly about my early life and
how I overcame death.

I used to live in the slums of Lalbaug where all people use common toilets. After I turned 21, I
feJl sick with fever which was occasional but frequent and with weight loss.

Initially, I and everyone in my family thought it was just viral fever but through blood-tests it was
found that J have blood cancer.

Yes leukaemia, a cancer that even today gives me shivers to think about It was difficult for
everyone in my family. My treatment and check-ups took 2 years and for all those 2 years I lived
in the slums.

One positive aspect was that Tata Memorial Hospital (TMH) was near to the vicinity where I
lived. My mother and father used to take me for treatment.

My father worked in a mill, so on some days, it was my mother who used to take me to TMH for
my treatment. My mother is a homemaker. The mill where my father worked, one day just closed
suddenly and with my treatment, the savings that my father had was starting to deplete. The cost
of my treatment was paid through the help of a social worker in TMH and by borrowing from my
relatives.

I lost a lot of friends as they stopped talking and meeting me because they thought my cancer may
be contagious, but with the support of my parents and some relatives, 1 was strong, motivated,
and my will power helped me overcome this disease. I became a survivor.

As a survivor, I realized that ifl can overcome cancer, then, surely I can reach great heights. This
may sound easy in thoughts, but not in reality. I was lost in the real world after being cured. How
to talk or be around people, how will they accept me, how can I get a job and live a normal life?
During the "maintenance" period (i.e., 6 months after my treatment) l was still going to TMH for
check-ups and the doctors persuaded me to share my experience with other cancer patients and
their caregivers. The doctor's guidance helped me understand my fear and how to overcome it.
I started speaking with patients in the same department where I was treated. Jnitially the doctors
introduced me to the young patients undergoing treatment. I inspired many young patients and
they started accepting their journey more positively.
I felt like a superhero being able to motivate cancer patients and their families.

With this need to help and give back to other cancer patients, I started looking for a job while
volunteering at the hospital.

During one of the events in the TMH hospital, I was told about a job opening at the Gunvati Jagan
Nath Kapoor Foundation (GJNK Foundation). I interviewed and was hired in 2015. Jt was the
best moment in 2015 for me.

After joining, I was given an introduction about the foundation, the mission, vision and the
values. Values that are so strong and embedded into each staff
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During the four years. that I have been working in his foundation, I have met Dr. Kapoor and
have known him to be a kind, humble, and generous man who is extremely passionate about
helping cancer patients.
I witnessed this first hand.
One of the things I looked for once I was declared a survivor was health insurance. Before
joining Dr. Kapoor's foundation, I looked for good options which were economical for me and I
was surprised and disappointed that there were no good options for cancer survivors.
Health insurance was hard to find , and a few agencies even refused to give me insurance
knowing that I was a cancer survivor.
Learning that Dr. Kapoor specifically hired cancer survivors to help them achieve financial
security, me and four other cancer survivors working at GJNK brought our request to the
management to take it up to Dr. Kapoor, so that we could have the benefit and security of
having health insurance.

I learned that Dr. Kapoor was shocked that we didn't have health insurance and immediately
approved our request while taking it a step further by offering us the best health insurance I've
ever heard of Most places in India refuse to give cancer survivors any insurance; Dr. Kapoor
made sure that we had insurance and so did our entire families.
This moment when I got health insurance, I felt relief course
through my body. Even my family breathed a sigh of relief.
This was one of the defining moments towards normalcy for
me. We all felt like a huge burden was taken oIT our
shoulders. Me and my family pray and thank God and Dr.
Kapoor for bringing us this security every single day.

Being a cancer survivor, you feel victorious and energized
that you have conquered the beast which is your disease.           Figure 1: Sharing My Story with Cancer Patient ut GJNK
                                                                                         Foundation
The opportunity given to me by GJNK gave me a ne,v lease
on life and gave me direction and made me feel normal again.

In my new position I was given the designation of "Project Coordinator" and was placed at Tata
Memorial Hospital in Pare!, Mumbai (TMH) in the Gastrointestinal Medical Oncology
Department.
GJNK Foundation runs a project called "Patient Guidance Program" (hereinafter referred as PGP)
which focuses on helping cancer patients access the resources they need while undergoing
treatment with an aim to increase survivorship by decreasing treatment abandonment rates. This
program is run across 9 departments and in addition we run a program called ''Save-A-Life'' in
the blood transfusion department.
The foundation provides 9 core services namely: Documentation Assistance, Financial Guidance,
Financial Aid, Accommodation Guidance, Accommodation Aid, Cancer Education, Directing
Patients to Hospital Related Resources, and Patient' Advocates.
In the GI OPD (TMH), one of the departments where we work, I introduce myself to the patients
and ask them what help they are seeking. Accordingly, l provide them with the services that GJNK
foundation offers to the patients.
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Being placed in this OPD the Is1 year was incredible for me. 1 was giving guidance to patients and
simultaneously providing them emotional support. This made me aware of what it takes to listen
lo patients and nurture them. It's hard to watch so many patients suffer.
The foundation helped me overcome my emotions by providing a personal psychologist to all
staff working with cancer patients every week.

Dr. Kapoor specifically made sure that we had this level of psychological support. He knew that
worldng ,vith cancer patients and seeing them suffer takes a toll on anyone in that position because
it's really, really, difficult to witness that level of suffering day in and day out.

On average we register more than 150 new patients in each month.

This support from GJNK Foundation made me grow. I used this as my strength even in my
personal life. Today l can surely say that I always look at life positively, be it chaos or any
problems.
1 thank GJNK Foundation for making me this strong.

In 2017-18 GJNK foundation promoted me to a "Data Executive" and today I handle the entire
data of the PGP for two states. I analyze and provide outcome and inputs of the impact of the
services we provide to the patients.

This position helped me understand that the data is the representation of our work and when
presented correctly, it speaks for us and for the foundation. l am doing work that helps others and
l have meaning and financial security in my life because of this job.
The generosity and w1conditional Jove and power of kindness that Dr. John Kapoor has shown
has changed my life forever. Because of him, I am now a cancer survivor who is living life with
no dependency whatsoever.

I have other colleagues who are also cancer survivors. Dr. John Kapoor has helped many people
like me because his vision is to help as many people impacted by cancer as possible.

I can surely say that what Dr. John Kapoor has achieved and done throughout his life is far more
than what l have expressed through this letter. His accomplishments in giving back to society is
what d rives me to continue to help as many cancer patients as possible, and to work for this noble
cause with zeal.
Thanking You,

~
Chetan Shinde

GJNK Foundation
Data Executive

Cancer Survivor
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August 8, 2019


Honorable Judge Allison Burroughs,
I am Mr. Rohit Tandle, a former undergraduate
from the Institute of Chemical Technology,
Mumbai, same as Dr. Kapoor. I am currently
working as a Senior Officer, Business Development
with Galaxy Surfactants Limited, in Mumbai, India.
It has been two years since I graduated. I am
leaving my current job to pursue higher education
in Management from Indian Institute of
Management, Indore, one the best business
school in India. I am not exaggerating when I say Gunvati Jagan Nath Kapoor Foundation
(GJNK) and Dr. Kapoor have played a very vital and lifelong memorable contribution in my
life.
My introduction with Gunvati Jagan Nath Kapoor Foundation happened through the Merit-
cum-Means Scholarship Dr. Kapoor provided for students of his alma matter. My family
belongs to a very seriously drought ridden area and money has always been a constrain for
any purpose, even for my education. But I was lucky enough to get admission into a centrally
funded school which provided free education till completing high school. Those seven years
at school had made me very independent and I wanted to continue this financial
independence during my undergraduate as well. Dr. Kapoor was the one who helped me
achieve this. I remember meeting Dr. Kapoor on the day GJNK and my institute announced
the list of candidates selected for the scholarship. Dr. Kapoor was very humble and kind. He
shared his vision and told why we were chosen. It was a very memorable day.
The Gunvati Jagan Nath Foundation was set up in honor of Dr. Kapoor’s parents. The
foundation not only gives financial aid for students, it also provides an opportunity for
students to work closely with different non-governmental organizations working around
Mumbai to help kids, elders and less fortunate people. By receiving a scholarship, I was given
an opportunity to serve and give back to society. I had an opportunity to work with GJNK
foundation to help cancer patients. This chance of community service really connected me to
various kinds of people.
Aa a part of community service, under the Scholarship program, I chose to work in the Blood
Bank of TATA Memorial Hospital, in Mumbai. TATA is the best and the only government
funded hospital in India for treatment of cancer. All of India comes here for their treatment.
GJNK has a dedicated team working in coordination with the blood bank. Cancer patients are
in dire need of platelets, a component of blood, due to continuous chemotherapy. Platelet
donation is not that known in India and hence there is always need of platelets. The majority
of the patients are children. These patients come to TATA hospital from various regions of
India and some of them are not that educationally qualified to understand what platelet
means. When a doctor informs them about requirement of platelets, people start roaming
around helplessly in this crowded city of strangers. Gunvati Jagan Nath Kapoor Foundation
helps these people in arranging the platelets for their patients. At TATA’s blood bank we used
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to contact current donors on a daily basis to fulfill the requirement of platelets for that day.
Not only this, the team continuously works with various industries, corporations and
educational institutes to conduct very frequent Platelet Donation Awareness Camps and help
increase the number of donors. I worked along with the GJNK team to meet the daily donation
requirement, arranging various camps and maintaining a database of donors. Gunvati Jagan
Nath Kapoor Foundation not only takes care of platelets, but also financial assistance for the
poor patients. They work in coordination with various organizations and industries to raise
funds for the poor people who cannot afford treatment at Tata Hospital. They are in Tata
Hospital 24x7 to help the patients. I was working there for two straight years and the impact
it had on me is phenomenal. Those two years definitely changed the way I see my life. It
introduced me to the most fatal disease on the planet. I saw people suffering. I met many
self-motivated platelet donors who used to come for donations regularly. All this resulted into
me being a platelet donor.
Once I ended my community service, I enrolled
myself as a donor to the blood bank and I donate
regularly, having seen the need for platelet
donations.
Little did I know that this selfless deed would come
find me one day. After a year-and-a-half later, after I
started donating, I was diagnosed with Stage I
testicular cancer.
The help I received from the whole GJNK team is just remarkable. I will always be in debt for
that. I am just one example of the work GJNK is carrying out for years under guidance of Dr.
Kapoor. They are working around the clock throughout the year to help those in need. As a
cancer patient, I could see the amount of dedication the Gunvati Jagan Nath Kapoor team was
putting in just to help me out. It was truly unspeakable. I am really proud that I was a part of
such an organization where I got to work with them and also got help from them.
The amount of work GJNK is doing for cancer patient at Tata hospital is amazing. They are the
only organization in India to spread awareness about Platelet donation. They recently
launched a video campaign and a mobile app to connect with the donors in a better way. Now
more and more people are getting diagnosed with cancer. This means more requirement of
Platelets and I am sure that GJNK is prepared for that.
Please take into consideration what Dr. Kapoor has done to help so many people, not only in
the United States of America, but also in India and please let him continue to do so. He has
helped me and so many other people like myself. Please know this.
With all Respect,




Rohit Tandle
Former Scholarship Recipient of Gunvati Jagan Nath Kapoor Scholarship and Cancer Survivor
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August 8, 2019



Dear Judge Allison Burroughs,

It is with sincerity that I am writing this letter to you regarding John Kapoor. As an employee at
Editha House, I had contact with John when he would come to visit the house. The house
offered lodging to patients seeking cancer treatment from out of town. The name came from
John's deceased wife, Editha. It was in her memory and with his passion that we created Editha
House and opened it to serve so many patients and families.

John was passionate about Editha House. He was interested in the operations and wanted to
work hard to keep improving to make patients comfortable. John knew what it was like to be a
caregiver, and he engaged with caregivers and patients. He was d istinguished, yet relatable and
would always hold the staff at high standards so that patients and families had the best
experience possible during the most difficult times.

Although John was clearly in charge, he was approachable and genuinely valued the input I had
about the operations at Editha House. John valued all of the employees and recognized that
everyone had a voice and should be heard when it comes to day to day operations. There was
not one person that was not treated with respect.

John cared about how many people could be helped and truly wanted to give patients the best
chance by opening this home. I will never forgot how John helped me to develop my passion for
this vulnerable population and see this need . He believed in my strengths and gave me the
opportunity to grow by helping me achieve my Masters of Business Management, Leadership, &
Strategy. He knew that this was an important step in my role with Editha House, and funded my
education. Without John, I would not have had the opportunities I have now. I w ill always be
grateful for John's faith in me, as well as his passion for helping those who need the most help.


Sincerely,
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 August 9, 2019

Dear Judge Allison Burroughs,

I am writing this letter to share my knowledge about Dr. John Kapoor with a hope that you will
be able to form a balanced opinion about him beyond what has been portrayed by the prosecutors
and press.

Before I share some highlights of my experiences with John, I would like to state that some of
my dates may not be exact due to the long time span of the period I am trying to cover. I have
known John for 57 years, since 1962, when we both were students at the prestigious Bombay
University, Department of Chemical Technologies.

John was one year senior to me but being in a class of only 18 students selected from all over
India, I came to know him well as a very bright senior classmate. After graduating with the
highest rank, he stayed on for one year as an Associate Lecturer before coming to the United
States for his PhD studies. During this one year, he was our instructor and I witnessed his
leadership and hardworking qualities. During our final chemistry laboratory examination, we
were unable to perfom1 a certain test in time due to limited availability of an instrument. Because
of that, our results of analysis deviated more than expected, and the external proctor was leaning
towards deducting some marks. John took a strong position on this with the proctor to make
adjustments in our test score. This was an extraordinary example of his leadership and courage to
fight for the right path in an autocratic and bureaucratic environment prevailing at that time in
India.

In 1967, I came to the University of Buffalo for my PhD studies after completing my MS degree
at the University of the Pacific. John was still a graduate student there. Although I had not kept
in touch with him, he became aware that I did not have boarding accommodations as I had
arrived there in late October, about 4 weeks after classes had started. He recognized my situation
and convinced his two roommates and the landlord of the house to allow me to move in with
them and share his tight living space to alleviate my economic burden. During my one year stay
in Buffalo, I observed John's caring nature on numerous occasions.

In the mid 1980s, I joined LyphoMed in the Chicago area, where John was a key investor and
CEO. AIDS was starting to explode and there was not much awareness about the disease and its
treatment. John had a vision and volunteered to manufacture an injectable drug for the NIH to
support clinical studies to combat the disease. In my view he played a critical role in developing
Pentamidine, which treats a very common and deadly pneumonia that afflicts AIDS patients. In
my opinion, his visionary leadership to help fight the AIDS epidemic propelled our success at
LyphoMed.

While LyphoMed was still emerging as a generic injectables supplier, I observed that John was a
strong leader, helping employees grow, while encouraging a culture of admitting mistakes if they
were made. John held new product committee meetings every Saturday morning between 8 AM
to 12 PM. His focus was how to improve the quality of life for patients. LyphoMed under John's
leadership was responsible for several innovations such as introducing injectables consisting of
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micronutrients for cancer patents and challenging frivolous patents barriers established by
multinational pharmaceutical companies, with the goal of making low cost generic injectable
drugs.

I was with John at LyphoMed between 1986 to 1990, and during that period it grew
phenomenally. Over a 10-year period, the company grew from less than 20 employees to more
than 800, and had four plants for manufacturing injectable products. During this stellar growth
period, the company faced several significant regulatory and business challenges. I was closely
associated with John for part of this time and witnessed the quality of his character. He always
had strong convictions, and supported and trusted his employees. He encouraged his people to
never be afraid to take a stand for what was right. He never encouraged anyone to violate any
existing laws or FDA regulations.

For a glimpse of the more personal side of John dw-ing this time period, I recall that there was a
year in which there was a bitterly cold winter in the Chicago area and many people were
experiencing heating equipment failures, creating a dangerous situation. My brother became
aware of a failure of the heaters at the Hare Krishna temple in Chicago. It was a life-threatening
emergency situation for resident devotees and staff as they did not have the money to fix the
problem. My brother had briefly met John just once some years ago. He went to John for help.
John who had never attended the institution himself gave $20,000 without any hesitation to
address the emergency. This was an example of John' s character before he became very wealthy,
always showing a desire and willingness to help anybody.

After LyphoMed was acquired by Fujisawa, John funded Oramed, the company I started. As a
small staitup company, there were numerous challenges. John provided invaluable guidance and
encouragement and was always instructing me to follow all laws and regulations regardless of
the burden they may have presented.

During the time period of Oramed' s formation, John's mother 1ived very near by him in Lake
Forest. After John departed LyphoMed he had established his family office in Lake Forest. I was
also working on Oramed from this office. During this time there were many important business
endeavors that he was involved in. John was extremely occupied with taking Option Care public,
taking a controlling interest in Akorn and strategic planning for its growth, providing critical
guidance to his startup companies - Neopharm, Oramed, India Enterprise, etc. As busy as he was
during those years, he always made a point to visit his mother at lunch time. His secretary would
not accept any urgent business meetings or teleconference calls no matter how important they
seemed, so that John was able to spend quality time with his mom.

While I was running Oramed, John had acquired a controlling interest in Akom, a generic
ophthalmic drug manufacturing company. John asked me to review the company' s
manufacturing site, Walnut Pharmaceuticals, located in Los Angles. Even though this was a
small and struggling compai1y, John's very first instruc6on to me was to make sure that all
regulations were completely followed and patients' safety was never compromised.

After we sold Oramed to a Salt Lake City based company, TheraTech, I moved to Utah and
didn't have much contact with John during 1995 to 2000. Between 2000 and 2004, I assisted
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John with some of Akom's operational problems. The company had seiious financial and
regulatory challenges. It was in lien default and the lender was foreclosing.

In 2007 John asked for my assistance with Insys. I worked closely with him for three years to
address issues the company faced in its early days. I again worked closely with John between
2015 to 2017 on Insys, when the pain drug Subsys had been approved and marketed. I saw that
John believed that Subsys was a lifesaver for cancer patients. He spent inordinate time, energy
and money to advance the application of Subsys. I worked closely with him and never saw him
telling any employee to bypass the FDA, DEA, or to violate any other laws. He always
encouraged employees to contact regulatory agencies, if in any doubt about rules. He had a big
dream about Insys being his legacy accomplishment as a pharmaceutical businessman. He truly
believed in the value that Subsys had to address unbearable pain and sought to gain approval for
new indications.

John also believed dronabinol (THC) and Cannabidiol (CBD) had a much broader potential than
the currently approved limited applications. He encouraged the company to pursue additional
FDA approved indications for these products, as he viewed the drugs as having a potentially very
beneficial impact for suffering patients, including those suffering from cancer, AIDS, epilepsy,
and Alzheimer's. As was consistently the case, he believed that his key executives knew and
properly executed the rules and regulations related to our industry. I remember an option
presented by the company with which we had entered a business partnership on CBD to
circumvent the DEA for marketing the product. John did not want to do anything in contradiction
to the DEA rules and guidelines. Instead, he threatened the partner company to dissolve the
agreement and forego large potential profits.

An example of John's utmost attention to following the letter of the law occurred while I was
working at Insys in 2007. We were conducting Phase 3 clinical trials on Subsys, before its
approval. Enrollment in a clinical trial is always challenging and our trial recruitment was even
more challenging than normal due to DEA designation of fentanyl, a potent opioid. In order to
successfully enroll the trial we decided to register various sites in India because of a large pool of
patients. We were encountering some significant delays in obtaining Indian government approval
for the studies which was normally handled by a backdoor system to cut through bureaucratic red
tape. John had set a clear policy of following the government procedures and prohibited alternate
procedures of getting approvals.

When I departed Insys in 201 7, John was indicted. Having known and worked with John for 57
years under a variety of conditions, I find it to be impossible that John would instruct anybody to
violate any laws, or do so himself. If one were to look for a weakness, in retrospect, it is easy to
say he was overly trusting of some executives, which has caused his current legal problems.
Specifically, I strongly believe that he was not aware of some things ce1tain of his executive
members had done to promote Subsys. It breaks my heart to see the career of a brilliant, selfless,
hardworking man turn in this unthinkable direction.

It is very difficult for me to reflect on life of John I have known for 57 years and see the trial and
the verdict. From selflessly defending his students in 1964, helping me out with housing as a
graduate student and multiple times with my career, showing care and concern for his family and
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complete strangers at all times, and then, believing in the delivery system for fentanyl to help
suffering cancer patients bear breakthrough cancer pain better than any other drug did, and
sinking tens of millions of dollars into the company without blinking his eyes. This is the John
Kapoor I have known for all these 57 years. The person the prosecutors presented to the jury is a
fabricated portrait completely inconsistent with my experience with him.

May you see what good this man has done his entire life and the drean1 he was pursuing, always
focused on the benefit to patients, and may you grant him mercy based on the truthful thoughts I
have presented.

Sincerely,




Ran1esh Acharya
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              EXHIBIT 51 -
              REDACTED
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                                    Rao S Akella




Date: August 09, 2019



Dear Judge

      Re: Request to show leniency in sentencing of Dr. John N Kapoor

My name is Rao Akella, I am 66 years old and resident of Illinois. I am a Chartered
Accountant from India and Certified Public Accountant from USA. I would like to
say few words about Dr. Kapoor, for whom I have been working for the last 32
Years.

Experience as an employee of Dr. Kapoor:

In 1987, Dr. Kapoor sponsored me to come and work for Lyphomed, a company in
which he was CEO and Chairman. Although I did not directly report to him, I
worked in various Departments. John Kapoor awarded me Employee of the
Month award. I felt, my hard work was recognized by him and decided to work for
him as long as I can .

In 1990, when Lyphomed was sold to Fujisawa, with the money he made, Dr.
Kapoor opened his Family Office, EJ Financial Enterprises Inc.

In 1991, he offered me to come and work for him directly at EJ Financial. I gladly
accepted the offer and have been working for him ever since. It is always pleasure
to work for him. He always treated me wit h respect and he is my guide and
mentor. Even if I made occasional mistakes, he never got mad or yelled at me. It is
not his nature to shout at people. He is always available to the employees, and to
listen to their ideas.
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Since 1991, I have been actively involved in Dr. Kapoor's personal Tax Planning,
Estate Planning and overseeing his Investments. Being an Entrepreneur, with his
Investments, he created employment to hundreds of people.

In 1992 he set aside funds in his Family Trusts for the benefit of some of his
Family members. I was honored that he chose me as Trustee for all his Family
Trusts.

During the last 28 years of my employment at EJ Financial, he never asked me to
do any unlawful things. He is ethical, hardworking and result oriented person. He
never tried to take any undue advantage or exploited employees to make money.

With the money he made, Dr. Kapoor could easily retire. He doesn't need more
money. He did not retire, because he wanted to help cancer patients. After seeing
how much his wife suffered w ith cancer pain, he was more focused on developing
fast acting pain-relieving cancer drugs and started lnsys Therapeutics. In my
opinion, unfortunately, the people whom he trusted to run lnsys were not right
people. They did not do their job properly, and with vested interest, they framed
Dr. Kapoor.

Dr. Kapoor is an honest, God fearing man and I feel sorry for him that he has to go
thru' this, which he does not deserve.

Charitable Activities by Dr. Kapoor:

In 1990, Dr. Kapoor and late Mrs. Kapoor started Charitable Foundation and
Donated funds to several organizations to help the needy people. After Mrs.
Kapoor's death, Dr. Kapoor continued Charitable activities more aggressively than
before. He also started another Foundation in Phoenix, providing free
accommodation to the Patients and their relatives, who could not afford to stay in
hotel during treatment. He also started 2 more Foundations in India, one in his
mother's name and one in grand mother's name to help and support the needy
people.

Financial Help to Family Members by Dr. Kapoor:
Since the beginning of EJ Financial, Dr. Kapoor has provided financial help through
a gifting program, to most of his relatives living in US, as well as in India.
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Without his help, they have no other means to support their family, provide good
education to their children and take care of their medical needs.

Personal Relationship with Dr. Kapoor:

Since 19911 and my family are very close to Dr. Kapoor. He helped us to settle in
our life. He also provided financial support to our 2 Daughters to get graduated.
He is kind hearted man. When someone approaches him for help, without second
thought, he always helps them, without expecting anything back from them.

In September of 2014, I had health issues related to Liver. He used to call me
every day and encouraged me to fight out my problem and prayed for me to get
well. Finally, I had a Liver Transplant surgery in June 2017. During that period,
although he was going thru' difficult times, he always found time to call me to
check my health condition and passed on his best wishes. Whenever he called me,
I felt so energetic, that speeded up my recovery process. I never thought I am
going to live. In a way, Dr. Kapoor gave me second life and he is God to me and
my family.

For such a kind, good-hearted man, I and my family are ready to do anything for
him. Words cannot express our gratitude for him.

I and my family were very saddened, when we heard the verdict and wanted to
express our feelings about Dr. Kapoor. God only tests people who are kind
hearted and good natured. I and my family sincerely request you to keep in mind,
all good things he did to the cancer patients, contributions to charities, taking
good care of his employees and family members, and show leniency in your
sentencing.



Sincerely




Rao Akella
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              EXHIBIT 52 -
              REDACTED
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Ce Blan




5/31/2019



RE: Mr. John Kapoor

To: The Honorable Judge

I am writing on behalf of Mr. John Kapoor who has been a friend, employer, and family for the
past 11 years.

I am the Corporate Executive Chef at Roka Akor Restaurants. I have an MBA from Wales
University, so many people have asked me why I became a chef. I was confused, without
direction like many young people. Mr. Kapoor inspired me and taught me: Work with passion,
cook with love, and treat co-workers like family.

Having known Mr. Kapoor for 11 years, I believe he is a gentleman who cares about people,
society, and of course family. I have also seen first-hand how passionate he is about his charity
work. I have worked closely with him and I've seen how much he enjoys helping others. I
believe that is where he finds his true happiness.

In 2018, we opened a restaurant in Houston. I was running it, and in August a horrible hurricane
hit Houston. I was trapped in the building with many others. Mr. Kapoor called me twice a day,
worried about every one of the employees, including many he'd never met. He didn't ask any
questions about our business or the financial damage we'd sustain. He was just concerned with
everyone's well-being.

I have been far away from the love of my family for years. I feel strongly that Mr. Kapoor Is
family. Only people who live away from their family may ever understand this feeling. I believe I
am tough person considering that I lead 200 chefs, but I wanted to cry when we talked over and
over on that long dark night. Right after the hurricane, he directed us to organize a way to help
people who work for us, who lost their homes, possessions, and had their lives disrupted. But
none of us had known his lawsuit had occurred. Sometimes I wonder if only the truly honored
man can worry about others before he worries about himself. Maybe he believes he is
innocent. I work in an industry that deals with thousands of guests each week, I really do not
know how many men can put others sadness beyond theirs. For them the prime need is not
"more flowers on the brocade" but "fuel in snowy weather". There are many more things he
has done over the years to show his compassion and generosity, many more than I can fit in
one letter.
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Lead your own path, let others talk. I believe Mr. Kapoor is a kind human being. The loss of his
wife has hurt him over the years, and he always has tried to help people who are going through
the same pain. Accepting the pain and moving forward positively. This has inspired many others
around him.

There have been arguments between us, but they never had a negative impact on our
relationship. We can argue about what goes better with a steak for hours, but at the end of the
day our customer will tell us truly. It was very enjoyable to go through those processes
together. I believe in my ability professionally, and he believes in me. I am running his business
with honor, and I think this is the best way to return his trust. We may all trust the wrong
person in life and we can't change people, but I want myself to be the best I can be. I have
learned so much about how to be a good person from Mr. Kapoor. It's not my job to obey, I am
doing this because it is the right thing to do. He has shown his great care and trust over the
years, and here we are.

In conclusion, please allow me to give my best wishes to Mr. Kapoor.

God Bless him,
God Bless America,
God Bless the American legal system.




Ce Bian
Corporate Executive Chef
Roka Akor Restaurants
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              EXHIBIT 53
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To the Honorable Judge,

My name is John Duffield, and I have worked for Dr. John Kapoor since 2011, and am currently
the CFO of his restaurant group. When I started in 2011, we had two restaurants in Arizona with
about 60 employees. We now have nine restaurants in four states with about 400 employees. We
take a lot of pride in what we've built, and we owe all of our success to the leadership and
support of Dr. Kapoor.

Although I won't claim to understand the facts of his case, I do know that Dr. Kapoor is a kind,
honest, humble man. I've seen these characteristics exhibited firsthand, time and time again, for
the last eight years. He cares deeply about his employees and is always there to lend a hand when
someone falls on hard times. He offers guidance and support, and has created a culture in which
anyone can rise up the corporate ladder with simple hard work and integrity. And he has always
insisted that we never cut corners, be it with the quality of our product or the service we offer our
guests. I have been honored to work for Dr. Kapoor and I am proud to be part of the company he
has created. Below are a few examples of times when Dr. Kapoor exhibited the aforementioned
characteristics. Of course, there are many other gestures both large and small that I won't include
for the sake of brevity, but I'd like to share some to give you an idea of the kind of person he is.

We opened a restaurant in Houston in 2017, and shortly after we opened, Hurricane Harvey hit
the area. As I'm sure you know, it was a devastating hurricane that caused significant damage in
Houston. Our restaurant was spared in terms of physical damage, but many of our employees
sustained damage to their homes and property and were displaced. Even though our business
would take a major financial hit from the storm, Dr. Kapoor was only concerned about the
health, safety, and well-being of our employees. Shortly after the hurricane, Dr. Kapoor directed
us to offer interest-free loans to any employee who needed one to help pay for damage to their
property, cover lost tip income, help loved ones, etc. And for this he wanted no recognition or
publicity for himself or the company.

We've had many other instances when an employee fell on hard times and needed help. Dr.
Kapoor was always there to lend a hand. Sometimes these would be people Dr. Kapoor knew
well, and sometimes they were people he had never met. When someone had a large medical bill
they could not afford, Dr. Kapoor lent them the money to pay for it. When someone had to tend
to a loved one, or death in the fami!ly, Dr. Kapoor would grant them an extended paid absence
until they were ready to return to work. When someone needed to travel around the world to visit
an ailing parent, Dr. Kapoor insisted that they go, and granted them all the time they needed.
Time and time again over the years, without fail, Dr. Kapoor showed how big his heart is with
his actions, not his words.

One of the best parts about the restaurant business is that we employ people from all walks of
life. Dr. Kapoor prides himself in giving people opportunities and helping people grow within
the company. He's created a culture in which anything is possible for those who are willing to
work for it. With Dr. Kapoor's support and guidance, we've had bussers become General
Managers, line cooks become Executive Chefs, and servers become sommeliers. He seems to
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love a good success story, and I believe that is one of the reasons he's so passionate about the
restaurant business.

I understand that you are tasked with sentencing Dr. Kapoor, and I would like to humbly ask that
you take these aspects of his life and character into consideration in any actions you take in his
case. He has touched many lives in the time I've known him. He cares deeply about people and
his employees, from dishwasher to CEO. He has created a company from scratch that provides
gainful employment to 400 people from all walks of life, and has given them incredible
opportunities to grow professionally and personally. He loves to see people realize their full
potential, and he prides himself in our company's culture of allowing people to rise up in the
ranks with hard work and integrity. He has consistently lent his time, money, and support to
people who need it. He has never sought recognition or publicity for any of these deeds, he just
does them out of the goodness of his heart.

Thank you for taking the time to read this and for your consideration. It is impossible to perfectly
convey someone's character in a briefletter, but I hope you get a sense of what Dr. Kapoor has
meant to those of us that have been privileged enough to work for him in his restaurant business.

Respectfully,




  yLU#f
John Duffield
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              EXHIBIT 54
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August 2, 2019




Dear Judge Allison D. Burroughs,

My name is Nobuo Fukuda, and I am writing to share my personal experience with Dr. Kapoor during the
past 10 years that I have known him. I am a chef and business owner in Phoenix, and Dr. Kapoor was an
investor and partner in my current restaurant, Nobuo at Teeter House. Nobuo at Teeter House is an
individual, family owned and operated restaurant in Phoenix for the past 9 years.

With very little to gain financially, Dr. Kapoor chose to invest in the restaurant because I believe he sees
the value in supporting small local businesses and the hardworking people behind them. In my
interactions with Dr. Kapoor over the years, he has always been fair minded and generous. We are
located in an up and coming area of downtown Phoenix, which has meant slow progress toward
meeting our financial goals. Despite this, Dr. Kapoor has been gracious and willing to forgo recovering
his return on investment, remaining supportive for the long term when he has every right to expect
more. His response has always been to offer marketing opportunities, business consultants and other
resources at every turn to help me remain competitive and grow the business.

When I've had the occasion to welcome Dr. Kapoor and his family to the Teeter House to dine, I have
observed him to be a completely unassuming and amiable man with a gentle way about him. I have
never doubted that my decision to partner with Dr. Kapoor was a wise one, as my respect for him over
the years has only continued to grow. I hope you w ill take my observations into consideration in your



 b
decisions regarding Dr. Kapoor's future.

Respectfu~

~~
Nobuo Fukuda
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              EXHIBIT 55
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July 18, 2019


RE: Dr. John Kapoor


Honorable Judge Allison Burroughs,


My name is Dr. Venkat Goskonda, the Chief Scientific Officer (CSO) at Insys Therapeutics Inc.
(Insys). [ have been with Insys since its inception. As a CSO, I am responsible for establishing
the company's strategic Research and Development (R&D) roadmap, providing exemplary
scientific input into company's R&D programs in order to support the overall corporate strategy
set by the board, maintaining the highest quality of scientific foundations oflnsys' drug
discove1y and development process. and managing company's intellectual property.

I have known and worked closely with Dr. John Kapoor for more than 16 years. I know him to
be an industrious, hardworking, career focused family-man who is community-minded and an
altruist. He is a true pioneer, innovator, and visionary.

In all the time I have known him, Dr. Kapoor has been a virtuous man; his motive has always
been advancing patient care. I consider it an honor to work for such a great person. Dr. Kapoor
is an innovative scientist and is a person with simplicity and humility. During my time at lnsys,
twice a week, I sat with him in R&D meetings, which gave me the opportunity to learn about his
scientific abilities.

He is very passionate about new technologies, new ideas and new ways of thinking in conducting
research. It takes a strong combination of passion, hard work and commitment to create a new
product. These are the qualities of Dr. Kapoor that helped us as a team create an entity like lnsys.

Dr. Kapoor continuously thrived to advance research with the goal of improving the quality of
patients' lives. The "9-step path to clinical development" developed by Dr. Kapoor was a very
critical tool in providing guidance to cross functional teams including R&D, clinical and
regulatory teams in conducting a comprehensive research starting from literature review, pre-
formulation research to clinical development stage. The 9-step process involves an in-depth
assessment of market for particular molecule/disease/indication of interest; review and analysis
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of cw-rent marketed products and the gaps in current medical treatments following a thorough
review of the literature, patents and medical guides.

After identifying the molecule, the summary basis of approval (SBA) is reviewed for important
aspects in the approval process of the product. Next steps involve the development of a product
to fit the target route, dose and the dosage form. This process includes optimizing the
formulation and selecting the right delivery system. The formulation development includes
solvent system screening for optimal solubility and evaluation of physical and chemical stability.
Few stable formulations are evaluated for in-vitro permeability using appropriate animal tissue
membranes and FDA approved permeability enhancers to achieve better permeability.
                    j

Formulations selected from in-vitro screening are further evaluated using animal models in in-
vivo experiments.

Based on the results from stability testing and in-vitro/in-vivo screening a formulation is selected
and evaluated in a proof-of-concept (POC) study in a clinical setting to establish
pharmacokinetic parameters. Based on the study results, the formulations are further optimized,
if needed, to match the pharmacokinetic profile of marketed product. Dr. Kapoor invention of
this 9-step process provides a path to invention of new ideas and a systematic approach to
develop pharmaceutical products involving highly complex product development process.

The research efforts enabled by Dr. Kapoor's vision set the stage for unraveling some of the
most confounding mysteries of cannabinoids and their effects on the brain and various organ
systems. Dr. Kapoor ventured into Cannabinoid research to address conditions with unmet
medical needs such as refractory pediatric epilepsy (including childhood absence epilepsy and
infantile spasms), Prader-Willi syndrome (a rare genetic disorder), Opioid use disorder, agitation
in Alzheimer's disease.

He put all his efforts in building a state-of-the-art facility with commercial manufacturing
capabilities for synthetic Cannabidiol. I am proud to say that Insys is the only company in the
world that has capability of manufacturing commercial quantities ofCannabidiol.

Dr. Kapoor steered the team in pursuing research in new technologies and created a proprietary
technology platform for sublingual, nasal and inhalation delivery of drugs. Through this new
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technology platforms we were able to develop a strong product pipeline including Naloxone
nasal spray (treatment for opioid overdose), Epinephrine nasal spray (emergency treatment of
allergic reactions including anaphylaxis), Buprenorphine/Naloxone sublingual spray (treatment
of opioid dependence), Ondansetron sublingual spray, Diclofenac sublingual spray, THC
inhalation and several other products in early stage development.

I am utterly shocked at the news of Dr. Kapoor having been convicted and hope that you will
show leniency in your sentencing. As I stated and will state again, in all the time I have known
him, Dr. Kapoor has been a virtuous man; his motive has al ways been advancing patient care.

I wish for him the best outcome and I shall support him as all friends and family do.



Sincerely,




Venkat R. Goskonda
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              EXHIBIT 56 -
              REDACTED
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Dear Judge Burroughs:



In this letter I will attempt to describe my relationship with Dr. John Kapoor, as well as the
impression that Dr. Kapoor has left on me over a decade of our relationship.

I met Dr. Kapoor in 2008 as I interviewed for an opening with Roka Akor Scottsdale. At that time, I did
not know much about him, except that he is a very successful businessman. His business stature in
the community prompted me to prepare myself for an intense interview with Dr. Kapoor at his
residence.

As I arrived at his home, Dr. Kapoor greeted me with sincerity and warmth. The personal feel of our
meeting place in addition to a welcoming and humble host have made me feel comfortable and
relaxed. As we started a conversation in his living room, I very quickly realized that I am sitting across
the sharpest and smartest business person I have ever met in my life. Our conversation was
engaging, and every statement Dr. Kapoor made that related to general business, hospitality, and
Roka Akor made incredible impact on me. I felt very good leaving this interview at Dr. Kapoor's
house. Short time after our meeting I become a general manager at Roka Akor Scottsdale. Being that
all this was happening during one of the worst economic downturns for hospitality industry, we
jumped in to a very intense business relationship. We had daily meetings and discussions. Not all of
them were fun and pleasant. The restaurant was not doing well, and there was not much of a hope of
any swift upturn in economy. During next two years we fought daily for every single guest at Roka
Akor. Each and one of those days I would have had at least couple of conversations with Dr. Kapoor.
Sometimes we would have multiple meetings in a day assessing the situation, coming up with
marketing strategies, engaging in intense and passionate debates, decide on out PR directions, etc. At
the end of the day, all of us wholeheartedly went out there and kept pushing forward, never losing a
sight of our belief and determination to succeed and finally strive.

We all came from different backgrounds, even continents. We could hardly understand each other's
accents. We felt like group of professionals quite confident in our abilities to make an impact. We
knew we had a great restaurant and felt proud of it. But, one thing that we all had in common and
that united all of us in a common goal was the respect for Dr. John Kapoor. Respect for his
mentorship and guidance. He did not know much about restaurant business at the beginning, but he
knew the recipe for the success. Dr. Kapoor made us want to be better every single day then the day
before. He, over the years, instilled some of the business attributes I am most proud of today. During
the hardest times for our organization, Dr. Kapoor kept leading us forward.

We worked very hard, and we invested 110% of our energy and passion in to our restaurant. At
times, when the results of our efforts fall short of our expectations, we felt that nothing is enough,
and that no way out is possible. I remember driving over to Dr. Kapoor's house to report to him on
our recent efforts. It was summer season in Arizona, which mixed with our state of economy in early
2009 created extreme business conditions for restaurant industry. All our efforts were falling short of
target, and !. had nothing to report to Dr. Kapoor. Nothing positive came out of the countless hours
my team and I invested. I felt defeated. As the meeting started, I informed Dr. Kapoor of our efforts,
actions, and failures. I informed him that I would resign at once. His message resonated with me
since that day.
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He sa id that we cannot be mistaking by trying things. Even a failure teaches us to adjust. We learn
and we move forward. He said that for as long as we are trying different things, learn from them, and
fighting each day as we did so far, we will succeed. He said he did not build restaurants to close them,
so we stay and fight.

After many conversations that were tough and set clear expectations, Dr. Kapoor taught us to
appreciate the process. To keep building our business by being passionate, hospitable, curious,
honest, and persistent. That is what enables a strong relationship with our guests and what ensures
us a great future.

Even today I often think of these times and realize that the amount of drive, support and leadership
Dr. Kapoor has supported us was the only reason we are still in business and proudly growing.
Since all of us involved with Roka Akor's first years of business have lived through the same
challenges, we also learned a great deal of comradery.

I remember, sometimes in 2009 we had a promotional event in the Phoenix Zoo, and on the way back
I injured my previously herniated discs in my lower back Dr. Kapoor ensured I see the best
orthopedic surgent in phoenix and receive the most knowledgeable counsel about my injury.

Sometime later, I remember one our chef ended up requiring a surgery. He was told that he could not
be coming back to work for several weeks, and that full recovery would take several months. He
called me feeling panicked because he had only 2 weeks of vacation. He was looking to see if there is
some sort of a program that I could help him get enro lled in so his family is protected from some
significant financial difficu lties. Just as I finished a phone call with him, John called me. During the
conversation I informed him that the chef will have to have a surgery and will not be able to work for
weeks, even months. Without a hesitation he instructed me to make sure that our chef's income
stays as if he was at work performing his duties. John asked me to make sure we do whatever It takes
to ensure the chef and his family do not feel any unnecessary discomfort while he is recovering from
the surgery. He said we always must take care of our people.

Over time, acts of humility and compassion most of us have seen, made us think of Dr. Kapoor not
only as our mentor, but also a sort of a father figure for some of us. His guidance has provided us all
with the mentorship we needed as young professionals hungry for knowledge and results. His
compassion gave us a moral compass alike one that a family often provides.
I see myself today as a part of a success story sprung out of a vision. It has developed and strived
through hard, honest work and passion. Our story was made possible, and then mentored and
supported by Dr. John Kapoor.

I am forever grateful for his support and guidance.
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              EXHIBIT 57 -
              REDACTED
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June3, 2019

Dear Judge Allison Burroughs,

My name is Sunil Kumar, and I have been working closely with Dr. John Kapoor for the last 13
years. He approached me in 2006 because I owned restaurants in Mystic, Connecticut, and he
wanted me to help him open a similar concept in Phoenix, Arizona. His vision has always
emphasized health and most of all, cancer prevention.

When we first met, I learned that his w ife Editha had passed away from breast cancer. Dr. Kapoor
talked about how Indian food has so many ingredients that are correlated to cancer prevention like
turmeric, ginger, garlic, black cumin, saffron, black pepper, and chili pepper.

He would point out that Indian food is also heavily plant based, so our concept was to create a
menu that would allow people to indulge in delicious food, yet, food that was free from many of
the unhealthy components that have become staples of Americanized Indian food (like heavy oils,
sugars, and cream).

He would say things like, "Indian food is so healthy, but too many restaurants load it with oil and
butter; let's take all ofthe goodness ofIndian food and bring it to the masses, so they can enjoy it
without harming their health. "

Our goal was to create a menu that used scientifically supported ingredients as potential sources of
cancer prevention and make it delicious and affordable for all. Accessibility and affordably was
particularly important to Doc (Dr. Kapoor). We argued about this constantly and he wouldn't
budge. The menu had to have the healthiest/best quality ingredients and be affordable for all
people.

We met daily, for an entire year at Dr. Kapoor' s home where I got to know him as an incredibly
kind and considerate, mentor, friend, and leader. I learned quickly that despite his wealth, he's
down to earth, humble, and kind.

f saw him with his family as a great father, brother, nephew, and uncle. He holds his family
together, frequently stepping out of meetings to be there for his children and support them in any
way he can.

Spending day after day at his home and sharing many meals together, I got to know him very well
before opening our first Bombay Spice restaurant location (now known as Marigold Maison). I can
say with 100% confidence that he would never hu1t anyone. He's a kind and considerate man, who
always sees nothing but the goodness in people.

Our mission was to serve "healthy, fresh, home-style cooked Indian cuisine and bring nutritious,
delicious, and affordable food to the masses."

On multiple occasions, I suggested that we use cheaper products so we could increase revenue, and
Dr. Kapoor would passionately declare that the most important thing was that we were healthy and
affordable. He would say things like, "Everyone should be able to eat healthy, not just the rich."

We kept our price point at below $10 per guest, and for the next 8 years, we didn't make any profit.


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In fact, we lost money, over and over, year after year.

Dr. Kapoor personally covered all of the costs and losses and refused to compromise quality for
profit. This is the type of man Dr. Kapoor is and always has been. He puts people over profit.

Dr. Kapoor was so passionate about the health component that he hired a nutritionist named
Melissa Korth to provide us with regular nutrition reports, which he would personally review daily.
For years, we would meet at his home, to talk about the various staple ingredients in fndian food
and their correlation to reduced obesity, inflammation, and cancer.

We spent countless days planning menus that would allow us to incorporate less oi l and cream into
the dishes by doing simple things like replacing butter with olive oil and cream with coconut milk.
Dr. Kapoor personally taste-tested each item, over and over, and we adjusted them to ensure
quality and nutrition.

Whenever Dr. Kapoor spoke about the restaurant, you would see his eyes light up as he proudly
shared that we have delicious Indian food that's actually healthy. He wou Id always go out of his
way to mention that we didn't use any butter or cream in any of our food. "Everything is made with
love."

I know first-hand how passionate Dr. Kapoor is about cancer prevention and wellness.

He is the type of man that for 8 years wasn't interested in any profit as he opened restaurant after
restaurant in multiple states with the one goal of bringing healthy, affordable food to the masses.

I have watched Dr. Kapoor always put people over profit, and r hope you will take into account
that he is the type of man who not only put his community's needs before his own, but also his
employees.

Here we were an unprofitable restaurant and on top of that, Dr. Kapoor was consistently putting
people over profits by going above and beyond to help anyone in need .

One example is when we learned that a young man named .          (who worked as a busser at our
restaurant) was sleeping behind our building at night because he lost his home. He was -
■, had no family, and was homeless.

When Dr. Kapoor learned this, he went home, went through his closet and donated his cloths and
underwear to this young man and asked us to take -    shopping for new shoes and toiletries.

Within 24 hours, Dr. Kapoor and 1 found -    a place to stay for one month. All of the cost was
covered by Dr. Kapoor so -     could save money and get back on his feet.

We took him to the state department to get him registered for housing assistance, and bought him
groceries, so he could eat.

After a month of saving al I of his paychecks, -      was able to become roommates with another
employee at the restaurant, and l am sure that it is because of Dr. Kapoor's kindness and
compassion.


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Dr. Kapoor set an example that was contagious and inspiring. Other people took his lead and
started Jendtng a hand of support to -  • who quickly found his way back to feeling whole and
human again.

We aJI learned how powerful compassion really is and all thanks to Dr. Kapoor.

On multiple occasions, and anytime our staff and sometimes their family members had any type of
a health issue, Dr. Kapoor would be the first person to call and inquire about the wellbeing of that
person.

We have had staff members hospitalized due to car accidents, illnesses, and/or emergencies. Dr.
Kapoor not only called to check on them, but he would go the extra mile and cover their unmet
medical expenses, while still paying them their full salary or hourly wage. He didn't make them
take medical leave or allow them to fall behind on their bills because they could not work. In a
restaurant setting, this is unheard of.

You see, Dr. Kapoor is the kind of man that sees nothing but goodness in people. There are
countless individuals who started as dishwashers and got promoted to upper management because
Dr. Kapoor believed in them, because Dr. Kapoor gave them a chance.

He believed in the goodness of all people, despite where they came from or what their title was. He
gave them a chance to do something more, a chance to be part of something larger. I believe this is
his greatest strength and largest downfall. Dr. Kapoor always saw the best in people, and
sometimes people took advantage of his trust.

I write to you today with the hope of giving you a glimpse of the kind of man Dr. Kapoor truly is.
He has helped countless people in so many ways and because of his vision, he continues to help
people every day. The trial and media reports painted a picture of a different man, a man that is not
Dr. Kapoor.

I know him. He is like a father to me. I've worked with him, and at every oppo1tunity to focus on
greed and profit, he has declined without hesitation, instead focusing on how to help his
community. He focuses on how to help prevent illness and prevent suffering, not cause it. He
doesn't deserve this, and I hope you will take all of this into account as his fate rests in your hands.




Corporate Executive Chef
Marigold Maison




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Dear Honorable Judge Allison Burroughs,

I'm taking the liberty of writing to you in regard to sharing my experiences of knowing Dr John
Kapoor for several years.

Dr Kapoor happens to be my late father's cousin and was always known in the family for being
a very bright and generous person. My grandparents were always telling us about his generous
and kind nature as he has helped several of his immediate and far extended family members. I
happen to be one such individual.

Several years back when I was a banker in India, I had a desire to immigrate to the United
States and make my career in this great nation.

When Dr Kapoor learned of my ambition, through my late father, he very kindly offered me an
analyst's job in his investment firm. After a couple of years of my working with him, he
encouraged me to get a higher education and supported me financially to get my MBA degree.

I have also had the experience of working for his company in new product development and
have been exposed to his perseverance as he always encouraged the entire research and
development team to work towards better delivery of medications for patients. He was always
patient centric in his thinking through the development cycle of several new pipeline products
including cannabidiol for epilepsy patients, nasal epinephrine and nasal naloxone amongst
other ideas he nurtured and developed.

He has always been known as someone who thinks very creatively when it comes to product
development. A specific example which comes to my mind is the development of cannabidiol
(CBD) by lnsys. The company was already making THC (another cannabinoid) at its facility in
Texas. When Dr. Kapoor learned of all the research which was being conducted across the
country, he worked with our manufacturing team to develop the manufacturing capabilities for
the company to make CBD. The company's venture in this direction was thanks to his vision
and hard work.

Furthermore, he ensured the new product development team reached out to a plethora of
investigators across the country to offer them CBD to conduct research in a variety of disease
states including Glioblastoma, Epilepsy, Chemotherapy induced peripheral neuropathy,
addiction etc. It was truly his passion to make the company a leader in cannabinoid research.

In my work capacity in the realm of corporate development and new product development, and
in my experience of interacting with Dr. Kapoor, he has always held high moral standards and
has been a responsible leader. It is my humble request that you please consider his scientific
bent of mind and his generosity of spirit in mind.


Kindest regards,
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              EXHIBIT 59 -
              REDACTED
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Mimes Mehic




To whom it may concern;

       My name is Mimes Mehic and I am the Director of Marketing for Roka Akor. I have worked for Dr. John
Kapoor since March 2014. I started with the company as a server assistant, then became a server for two
weeks, before applying for a private dining sales position. I met John for the first time during the interview
process and quickly realized what a humble and gracious person he was. Having no experience, he gave me an
opportunity to prove myself.

I would occasionally touch base with John when he dined at the restaurant thereafter. He often commended
me on my success and offered some advice. John is a huge believer in human potential and always moving
forward in life. For the next 8 months I was in the private dining sales position. When the opportunity for the
Market ing position of all Roka Akor restaurants came up, John recommended me for the job. When I told him,
I didn't think I was ready, he stated he knew people like me and that I would figure it out. He was right again,
and after 6 months of the marketing role, I was promoted to director of marketing.

Having worked with John for the last 5 years there are numerous occasions that I recall that show his
incredible character. John is a humble, generous, and caring person.

John Kapoor has been a restaurant owner for 10 years, and if you didn't know it would be very figure out. John
usually made reservations, and always asked what was available instead of demanding a time. He will come
into the restaurant, sit at the bar like any regular guest, pay for this meal, tip graciously and leave like he
didn't even own the place.

One instance I reminder like it was yesterday, on a sold-out night John had a reservation at 7pm for his family.
A family that walked in the door right before him had been turned away because they didn't have a
reservation and John kindly called over the manager and told him to give the guest his table and John and his
family would wait for an opening at the bar to sit down.

One of the many charitable donations Roka Aker has done include St. Mary's Food Bank and Editha House. In
2015 when we partnered with St. Mary' s Food Bank, John matched the donation of Roka Aker and on top of
that donated Turkey's to families in need. Every year in October we partner w ith Editha House Charity for
Breast Cancer Awareness and donate over $10,000 for the cause. Editha House is a charity John started with
his wife who died from Breast Cancer. They provide lodging for patients and caregivers who are traveling to
Arizona or Illinois for treatment.

A few years ago, John got wind that one of our servers at Roka Aker was in a terrible car accident and was
needing assistance in paying for surgeries. John insisted we choose a night of the week and donate all t he
proceeds of that night to her care. One top of that he matched whatever was brought in that night.

Working with John over the last 5 years I have seen a person operate with the highest integrity, while
continually enriching the lives of the people around him.



                                                                           7~/L--
                                                                           Mirnes Mehic
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                                                                   ROl<A
Roman Petry

Roka Akor San Francisco LLC

801 Montgomery Street                                               Al<OR
San Francisco, CA 94133                                            steak   I seafood I sushi
415.362.887

rpetry@rokaa kor.com




May 31st, 2019



Your Honor,



It's a genuine honor to write this lette r as a character reference for Dr. John Kapoor. I had the
pleasure to work for and with Dr. John Kapoor for about 11 year as Executive Chef of Roka
Akor in Scottsdale, AZ and San Francisco, CA which was owned by Dr. John Kapoor. In this
time Dr. Kapoor has not only been an exceptionally intelligent restaurant owner but he has
quickly become a close mentor to me whom I owe lot of gratitude personally and professionally.

I first meet Dr. John Kapoor when I w as recruited for the opening of Roka Akor in Scottsdale, AZ
in 2008. Since the opening of Roka Akor Scottsdale, AZ Dr. Kapoor has been involved in all
elements of the Restaurant, but it was truly his guidance and dedication to the entire Roka Akor
Team which helped us as a Restaurant overcome the tough financial crisis which ultimately
closed many other Restaurants in Scottsdale, AZ. Only because of the vision and support of Dr.
Kapoor during this economic crisis Roka Akor was able to stay open and therefore created
many job opportunities during this difficult time. Through his continued dedication, vision and
guidance Roka Akor grew from one Restaurant in Scottsdale, AZ to now having 6 very
successful locations. I and the entire staff of Roka Akor owe Dr. Kapoor a large amount of
gratitude for this and it would never have been possible without him guiding us and motivating
us to overcome some difficult times in the beginning.

During my tenure at Roka Akor Scottsdale, AZ Dr. Kapoor has always sought to develop me
further as a Chef, Manager and Supervisor. He gave me the freedom to create a new culinary
vision for Roka Akor while always supporting and motivating me along the way. I had the
pleasure to witness this also many times over with other Chefs and Managers.

While I admire Dr. Kapoor for his visionary business sense it is clear to me that his main
motivation and dedication is his family and the people who are working for him. In so many
instances he showed and taught me that family is the singular most important thing in our life.
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This was especially made clear to me when I left Roka Akor for a short period to be closer to my
fiance in San Francisco, CA. Even though I was no longer working for Dr. Kapoor he would call
me periodically to check in how I was doing on and if I was happy. This resonated very deeply
with me and it truly shows how much he cares about people and their personal and professional
development.

When I was about to get married he offered to open a Roka Akor especially for me in San
Francisco just so that I can be with my Wife in her hometown of San Francisco. Dr. Kapoor gave
me a budget and opportunity to develop Roka Akor San Francisco, CA from the ground up
under his guidance even though I had never helped in the initial buildout and design of a
Restaurant. This among so many other examples shows just how much he cares and wants
people to succeed and be happy. In my experience with him he can be driven but he always
wants the best for you and I will always be grateful for his mentorship and friendship.

Dr. John Kapoor has always been extremely charitable and because of him we always
supported charitable causes like Breast Cancer Awareness and the Editha House Foundation,
which gives relatives a place to live while their loved ones go through Cancer Treatment. On Dr.
Kapoor's direction we also continuously support Meals on Wheel and No Kid Hungry through
Roka Akor San Francisco to name just a few examples.

Working for Dr. John Kapoor has truly been a life changing honor and I truly admire him for
being a kind and caring person. He has many times over put myself and other people before his
own personal interests and has shown what a great person he is.



Respectfully,



 rl~
Roman Petry

Executive Chef

ROKA AKOR San Francisco
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Dear Judge,


I ask that you kindly and carefully consider my letter as it relates to Dr. John Kapoor.



Thi ~
Vjj11'.y T. Rao
Senior Analyst, EJ Financial Enterprises, Inc.
December 2007 to Present


         In the fall of 2007, I interviewed with EJ Financial Enterprises, John' s family office, just a couple
years out of business school and after hearing about John from family and colleagues and reading about
him, on a limited basis, in the local press. My perception had been that he was a very successful,
entrepreneur, venture capitalist, investor, philanthropist, and a myriad of other superlatives. When we
first met, it was in a nondescript office in a suburb of Chicago, Lake Forest, where John made his home
and raised his family. He was not the magnanimous figure that I expected, but he was instead succinct,
focused, and informative, already telling me what "we" needed to do for his family office. I knew then
and there that I wanted to be a part of the EJ team, and by December of that year, I had joined the EJ
team.


         Before I had joined, and at my ii.nterview, I expressed to John that I was interested in helping with
the restaurants that he had opened in Phoenix, and within a couple of months, John asked me to come to
Phoenix and work with the restaurant team as an internal financial consultant to the restaurants. He was
very involved, always offering his opinion, and always willing to listen to a pretty large staff, whether it
was a part-time manager or a line cook - John always listened and wanted better for his team . A few
months later, John allowed me to undertake a big project, which was to help scout locations for a Chicago
restaurant. I don't think I ever really expressed it to John, but I was beyond happy and so thankful for
such an opportunity. And I guess that' s the thing with John, he was always willing to give people
opportunities, always willing to bet on a slight underdog.


         As I moved on from helping with EJ's restaurant portfolio to the family office investment arm,
John's willingness to help new entrepreneurs, start-ups, and struggling companies was quite evident. I
recall many times where I offered my opinion, that perhaps we should not invest in a certain company,
and John would say something to the effect of "I like the people, I like the company, I want to help,
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because ...." and then just trail off, leaving me to find a deal that was amenable to both sides. He did this
for people he barely knew or had perhaps met on one or two occasions, and helped people in so many
areas of business - healthcare, restaurants, entertainment - sometimes only out of compassion and a belief
that if you put your heart and mind into what you were passionate about, that success would be the
inevitable outcome, to everyone' s benefit.


         This idea of success and hard work also meant doing analyses to ascertain whether to underwrite
an investment. One of the things that struck me during the Insys trial was that the phrase "return on
investment" (or "ROP') seemed to be mentioned on a recurring basis, with a negative connotation, which
was rather odd to me. In my experience, all companies, whether in the pharmaceutical industry or
otherwise, undertake some form of ROI analysis (oftentimes also referred to as an internal rate of return
or "IRR" analysis) to determine whether particular investments are worthwhile. The negative connotation
ascribed to such analyses at trial was, in reality, a complete denigration of one of the most fundamental
assessment tools used in finance. In fact, I would be surprised to find a single piece of literature in the
area of corporate finance that, when discussing valuation or investment strategies, portrayed ROI or IRR
analyses in such a negative Iight. Such analyses are the very basis of most investment considerations,
whether that decision is to launch or allocate resources to a drug such as Subsys or the decision to build or
not build a new model of automobile.


        That word, that thought, about ''passion" and " being passionate" was something that John
repeated and trickled down into everything and perhaps everyone that knew John. And it wasn't some
catchphrase or nonsense that he uttered to get attention, because I don't think John ever sought anyone's
attention or cared much about anyone' s adoration. As I think about the idea of passion, I think of a very
specific company that he invested in, which was developing, in laymen' s terms a medical device to
remove cancer tissue in affected people. Without too much due diligence, John was an early investor in
the company and to our happy surprise, the FDA approved the device in April of this year. People who
know John know that his wife passed away due to cancer, and perhaps while he chooses not to talk openly
about the disease or her death, he has always has had an unwavering desire to help cancer patients, and
has done so throughout his life in through his investments in portfolio companies and via his charitable
foundations. Even today, I think very few people know about the Editha House in Phoenix, which is a
charitable caregiving facility in Phoenix, nor the endless donations and participation in local Arizona and
Illinois charities, as well as the foundation John started in India. I know firsthand that John has
contributed to local causes on a recurring basis, all with little fanfare, which makes sense when you know
John.
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        Having worked with John nearly a dozen years, I notice a very common theme in the way that he
operates, at least from an investment perspective, and that is that John never believed in the quick-fix, the
quick-buck, or the quick-anything. He thought that if a company or an individual was doing the right
things, for the right reasons, and as mentioned before, if they were passionate, then things would work out
well. As many venture capitalists can likely attest, there is an incredibly high failure rate with startup
companies. But that never seemed to deter John's focus nor his willingness to help those that sought his
assistance, whether that meant a face-to-face meeting to get his thoughts in an idea, share his past
experiences or possibly help with an investment or donation. It is indeed very difficult to distill his career
and deeds down to lines on a page. I can also say with certainty that when it looked like someone was
doing something that had the faintest whiff of malpractice, in any form, John simply wanted no part of it.
I recall a time a restaurateur was looking for an investment to expand and when the financial due
diligence raised eyebrows, John simply said to me that despite the personal relationship, we just could not
do something like that, which was nothing different than my own expectations of what his reaction would
be. I want to be crystal clear, lest there be any doubt - in the nearly 12 years that I have spent working
closely with John, I have never once beard, seen, or even caught the slightest whiff of something illegal or
questionable in any sense. Many people that know, work with, or have otherwise associated with him
will tell you the same and I do not waver in writing this to you.


        Everyone in our office called John "Doc." He seemed to abhor titles, didn't seem to give much
thought about what tl1e press said about him, whether it was praise or criticism, and Doc set the stage for
how we ail operated, with our heads down, hard at work and trying our best to succeed, indifferent to
praise and considerate to criticism. I have uncles and aunts, friends and colleagues, all of whom have
worked w ith and for Doc over the last thirty-something years, and none of them are shy to praise his pure
nose-to-the-grindstone work ethic. I recently read that when John came to the United States from India,
he had only a few dollars to his name. I thought about how that story was similar to so many immigrants
who came to the United States, including my father, who had seven dollars in his wallet. My life has
been multiples easier because of pioneers like John, and when I came to EJ, I was relatively young and
looking for an opportunity to make a career, and John gave me that, as he has done for so many people.
John, through all of his actions, bas made me want to be a better person, in terms of my career, my family,
my relationships, my community service and in so many other ways.
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        While I feel that I could go on, with so many tangents and examples of what John has done and
who he really is, I would like to leave it at that and hope that you please consider the above as you try to
understand who John Kapoor truly is, to me and so many people.
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 JW1e 14,2019

 Dear Judge Allison Burroughs,

 My name is Abraham Suarez and I have worked as a server at Dr. Kapoor's Indian restaurant,
 Marigold Maison for the last 5 years.

 During this s hort time, Dr. Kapoor has touched my heart with his kindness.

My son, Eli, was born on November 7 111, 2017. He was born premature and weighed less than 2
lbs. He was required to stay in the neonatal intensive care unit for 115 days. He was kept warm
in an incubated bed and fed through a tube and syringe for 11 5 days.

At the time, I had only worked for Dr. Kapoor for about two years. Yet. the first thing he did is
reach out to me and tell me that he is there for me. He said, ·'Abraham, I am sorry about your
son . .. anything you need, we support you."

My manager informed me that Dr. Kapoor specifically reached out to him to make sure that I
know that if there were any medical expenses that my insurance wouldn't cover, Dr. Kapoor
would pay for 100% of the cost, personally .

I can't express to you what a relief this was and what a God send. I am the father of 5 children,
and I get paid hourly. I was worried about not being able to work and support m y family, and I
was worried about the huge medical expenses from the hospital.

r had only worked for Dr. Kapoor for 2 years and the fact that he was so compassionate in
reaching out to me, truly blew me away. I didn 't know that people like him existed in this world.

I le is the kind of man who would have done thi s for any of his employees. even a ll of us. even
now, in a heartbeat.

Everyone talks about how his wife. Editha died of cancer and I think watching her suffer
changed him forever. He clearly feels for anyone who is watching their loved ones go throug h
sickness, and he showed me this first-hand when my son was sick.

Not long after my son was released from the hospital, I was hospitalized from a scorpion bite. I
was in the hospital for more than one month, and my son had just been released after 115 days in
ICU.

Dr. Kapoor told me not to worry about my job security and that everyone is there for me if
there' s anything me or my family needs. Dr. Kapoor reached out to me again with his kindness
and compassion and even sent me a check to help me with my income.

H_e is the kind of man that time and time again reaches out to help others w ith absolutely no
expectation or desire to get anything in return.
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He is a great man who has helped so many people, including my son who I am happy to report is
doing well. He still has issues with eating, but he is no longer fed through a tube.

Dr. Kapoor is a man, that saves lives, helps strangers. and puts everyone else's needs before his
own.

Please consider this wh n you decide on his sentencin

Respectfully,

Abraham Suarez
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 Dear Judge Allison Burroughs,

          I was informed recently that the sentence hearing for Dr. Kapoor would be soon. I wanted to
 write to you personally about my firsthand experience with relating and working with Dr Kapoor for over
 a decade now. As I hope this information will lead you to show leniency in sentencing Dr. Kapoor.

         My name Is Wesley Turner and I have been an employee at Roka Akor, his first Japanese
 restaurant since August 2008. I started off as a busser and worked my way up to a server before being
 promoted by Dr. Kapoor to Management then eventually a Corporate Trainer.

        I have set foot in and worked at all of his restaurants across America for many years now and in
my job, I naturally come across a variety of people and personalities from all different types of
backgrounds and lifestyles.

        Something I personally admire and noticed about Dr. Kapoor is that he is beyond a business man
and carries himself with a consistent and genuine humility not found in many men of his
accomplishments and economic stature. A living testament to his character is also the character of his
family, that I have enjoyed serving and getting to know now for a decade of my involvement with his
company. Through these hard times I have seen his family form around him like a wall of protection and
support and gather closer to him than ever before. When in reality it would be much easier to keep
away from a situation like this altogether, they have chosen to walk the narrow road and to pass
through the fire with him. Setting a strong example for other families to model after.

        Another thing I took note of is his charitable works and deeds he has done, which are brought
up frequently enough, but curiously never from his own mouth. But only by his own actions and the
words of others am I even made aware of them.

        One occasion that has had tremendous impact on me and left a good imprint on my soul was a
recent trip to Editha House, a hospitality health care home started by Kapoor that focuses on caring for
and housing patients undergoing various surgeries and chemo treatments. The level of detail and
dedication shown by his employee's there is both contagious and inspiring, that I hope to make more
people aware of, so that they too can improve their communities just as he has done.

        At the end of the day I can only testify to the things I have seen for myself, a family that loves
and supports him and two companies that have had a profound impact on the community. Even the
restaurant in a unique but measurable way has helped people from all walks all life get their lives in
order and set in a good direction, myself included. Mr. Kapoor has been a blessing to a me and many
others. I really do appreciate you taking the time to read my thoughts and I hope this has been
insightful.
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Dear Judge Allison Burroughs,                             July 11,
2019

I have known John Kapoor, PhD for almost 20 years. We first
met at an American Association for Cancer Research (ASCO)
meeting and discovered that we had very similar philosophies
concerning supportive care drug development, especially the
great need for more effective antiemetics, which help cancer
patients who are suffering from vomiting and nausea while
undergoing chemotherapy.

When John lost his wife Editha to cancer in 2005, his extreme
empathy, especially for low-income cancer patients and their
families led him to fund "Editha House." It is a magnificent long
and short-term living facility for out-of-town patients requiring
surgery, radiation therapy and/or multiple day chemotherapy.

Patients and families treated at our University of Arizona Cancer
Center Outpatient facility on the Phoenix BioMedical Campus
have benefitted tremendously from the availability of Editha
House to reduce their stress and financial burden in an extremely
supportive environment.

In 2010, I began consulting for Insys Therapeutics to help
develop marijuana metabolites such as cannabidiol as ·a
supportive care agent to prevent and treat peripheral neuropathy.
I have never been part of the INS YS cancer pain management
speaker program and have attached a letter to attest to my exact
role with the organization as a long-term drug development
consultant for cytotoxic, antiemetic and anti-neuropathic agents.

Dr. Kapoor asked me to be a consultant to INSYS Therapeutics
in the Drug Development Division because of my expertise in
the development of antiemetics for cancer chemotherapy treated
patients, who developed acute and/or chronic nausea and emesis,
despite the use of standard antiemetic regimens.

It was an honor and pleasure to work with this brilliant clinical
pharmacologist, who was responsible for greatly improving
Marinol as a second line antiemetic merely by changing its
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pharmacokinetics, such that it begins to work within 5-10
minutes of dosing.

In 2015, I worked together with 2 extremely bright and creative
members of the Kapoor Foundation to write a chapter about the
great merits of Editha House for Supportive Cancer Care, a
textbook (published in 2016) that has been downloaded more
than 14,000 times by medical professionals geared towards
improving supportive cancer care.

In all of my years knowing John, he has shown nothing but a
desire to help cancer patients and their families. I have extensive
experience working in both a research and clinical cancer setting
and have met few people with the dedication and passion for
helping cancer patients as John.

My experience includes serving as a Chairman for the FDA's
Oncologic Drug Advisory Committee (1982-1984), where I was
responsible for reviewing NDA applications for both cancer
treatment and supportive care agents.

I served as the Director of the University of Arizona Cancer
Center from 2005 -2013, which is one of only 45
comprehensive cancer centers, designated and funded by the
National Cancer Institute.

I have published more than 900 scientific journal articles and in
2001, I was the third highest funded NIH clinical research
scientist in the United States.

Furthermore, I am designated as an Arizona Board of Regents
Professor of Medicine, in Pharmacology and Public Health and
am only one of two physician scientists to be honored in this
way in the state of Arizona.

I know how important it is for cancer patients to get the best
treatment possible and I have witnessed John try his very best to
do everything he can to help as many patients and their families
as possible.

I have received multiple international research awards over the
past 2 decades including the following:
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    •1999, American Society of Clinical Oncology (ASCO)
    Award for Leadership in Cancer Prevention

    •2003, American Society for Preventive Oncology,
    Award for Career Achievement

    •2004, American Association for Cancer Research
    (AACR) Joseph Burchenal Clinical Research Award

   •2014, American Association for Cancer Research
   (AACR) First Annual Pioneer in Cancer Prevention
   Award

I do not share my accolades with you to boast about my career. I
share them to give you a glimpse of my extensive experience
within the cancer arena. I am grateful to know someone like
John because he has dedicated his life to helping others.


Respectfully,


WA~
Dave Alberts
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 September 5, 20 I9

 Dear Judge Allison Burroughs,

 My name is Anand Acharya. I am writing to give you some perspective on Dr. John Kapoor, a man who I
 have known personally since about 1990, when I was 13 years old. At that point, I knew him through my
 dad, Ramesh Acharya, who has known him personally since the 1960s, and who has had several
 professional interactions with him since the l 980s. Subsequently, as I became an adult, J have developed
 my own professional relationship with him over the past 17 years. In short, I have always known Dr.
 Kapoor to be an energetic businessman who enjoys seeing both his businesses and his employees grow
 and thrive, intellectually curious, and overall a fundamentally caring person who is respectful of others
 and their views. Never have I seen or have any reason to think that he would engage in any illegal or
 unethical conduct or want to take any sho11cuts to success. It is painful to see how the recent verdict is
 cutting down the legacy of Dr. Kapoor, overlooking the many great things Dr. Kapoor has accompl ished
 and the many people he has positively touched.

As a ch ild, I knew of Dr. Kapoor through things that my dad told me and met him on a couple of
occasions. From afar, I admired his tenacity to build businesses given his humble beginnings. I heard
stories of his extremely hardworking nature. I also recall how scary the AIDS crisis was for a period of
time, and I knew that while at LyphoMed he had helped to develop a drug to help AIDS patients.

After LyphoMed was sold, my dad started a business with funding from Dr. Kapoor. I recall that in
around 1990, before they decided on the path they would take with this new business, Oramed, they
discussed several other possibilities. One option they considered was to start a food company specializing
in healthy and cholesterol lowering foods, because this was an interest of my dad's with personal
relevance as he had high cholesterol. I remember Dr. Kapoor com ing over to our house and patiently
listening to these plans and tasting sample foods my dad had experimented with . Ultimately, although the
business they started ended up being more in the traditional pharmaceutical space, it struck me that Dr.
Kapoor was willing to go well outside of his main area of expertise and patiently consider a business like
this to invest in. I believe these kinds of experiences and observations helped me appreciate the power of
business to create positive change in the world. My impressions were that Dr. Kapoor was a kind and
optimistic person who believed in my dad, and would probably have invested in anything that my dad
cared strongly about.

As a 25 year old young adult living in Los Angeles in 2002, I developed my own professional relationship
with Dr. Kapoor. l was working in the investment management business, and with youthful enthusiasm,
wanted to start my own investment firm. I reached out to him, went out to Phoenix to see him, and we
spent a good chunk of a day talking over some ideas that I had. We continued these conversations over a
period of time, and he agreed eventually to partner with me in this business and provide a $3 million seed
investment in the business later in 2002. I operated this business from New York City and continued to
have regular communications with him via email, phone calls, and some meet ings, to discuss the
economy, the markets, and our portfolio. Several years down the road, he invested approximately $5
million in additional funds into the business. These investments were fairly remarkable amounts for a
young, relatively inexperienced investment professional, and I will always appreciate the bel ief he
showed in me.

During this time period, I witnessed that unlike many people in the investment business, he exhibited
pat ience, preferring to own high quality stocks for the long term, did not get emot ional with market
volatility, and provided interest ing perspectives on the state of the economy, as in addition to his work in
pharmaceuticals, I believe he enjoyed the intellectual challenge of fo llowing and participating in public
securities markets. I learned a great deal from these discussions and the experience overall, and after a
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successful run, I wound down the business in 2007, returning money to him and other investors, wanting
to spend some time learning from others in a larger, more established fund.

After 9 years doing just that working as an investment analyst at another firm in New York, in late 2015
and early 2016, now much more seasoned in the business, I was ready for another challenge. I thought I
might again want to start my own investment business and reached out to Dr. Kapoor about his interest in
investing. We communicated by email and I went out to visit him in Phoenix to have some discussions.
Ultimately, he was looking for someone to manage investments at his famil y office and I joined him in
this capacity, moving to Phoenix in 2016. I have worked for this entity for the past 3 years. For the first
2 years, until his legal issues arose, he was actively engaged in fairly regular discussions about the
economy and various potential public and private investments. Sometimes these discussions were
between the two of us, and other times, we discussed ideas with outside parties such as bankers and
analysts. He had good insights and opinions to share, based on his experience and being very well
informed in this space. I thoroughly enjoyed our discussions and found Dr. Kapoor to be intellectually
curious, open-minded, and respectful.

I really looked forward to engaging in a long and successful run working alongside him, helping manage
the family offi ce assets, including substantial plans to utilize his wealth for philanthropic purposes,
through his various foundations. Although these plans have now been significantly altered, he was
passionate about the good that his wealth would be able to facilitate through funding programs and
helping people in need, specifically vulnerable people with significant medical problems in both the
United States and India. Although he had become quite wealthy, it was clear in our interactions that he
had remained true to his humble origins, his family, and high ideals.

Based on my experiences with Dr. Kapoor, the charges against him seem completely out of character with
what I have witnessed. I hope that my letter serves to share some insights about how he has interacted in
an exemplary manner with me and others in several contexts.

Sincerely,




Anand Acharya
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                                                                                             August 7, 2019

Dear Judge Allison Burroughs,


I am an Illinois CPA and an Illinois attorney. I have worked in a professional capacity with Dr. Kapoor and
his family for almost 28 years relating to tax compliance and consulting services. During this time, I had
the opportunity to work directly with Dr. Kapoor. This letter reflects my personal experiences with and
my personiJI perspective of Dr. Kapoor. This letter does not contain any tax advice and does not reflect
the view of any firm that I have been associated with during this time.

I understand that Dr. Kapoor was raised in India with modest means. With hard work and intellectual
talent, he earned a scholarship from the University of New York at Buffalo graduating with a PhD degree
in Chemistry. He later became CEO of Lyphomed Pharmaceuticals. When I first met Dr. Kapoor in 1990,
the minority shareholder was negotiating to purchase the company. I understand that Dr. Kapoor was
not a United States citizen at that time but chose to remain in the United States and eventually became
a U.S. citizen despite the significant U.S tax cost.

During our relationship, I had an opportunity to meet with Dr. Kapoor and his late wife, Mrs. Editha
Kapoor. At these meetings, we discus.sed gift and financial planning for their family. These meetings left
me with two important observations. First, Dr. Kapoor appeared to have a close relationship with his
wife Editha and involved her in the overall family planning process. He valued her opinion and she
participated in the planning discussions.

Second, Dr. Kapoor and his wife implemented financial support trusts not only for their children but also
for more distant family members including for example aunts, uncles, siblings, in-laws, and cousins.
During my career, I do not recollect another family that was so generous in sharing their success with so
many other people.

Mrs. Kapoor unfortunately suffered with cancer for several years and tragically passed away in 2005
leaving Dr. Kapoor with four teenage children. Dr. Kapoor is a private person but it was evident that Mrs.
Kapoor's suffering and passing was understandably a very difficult time for him and his family. Dr.
Kapoor continued to provide significant support for his late wife's family of which many lived modestly
in New York. Dr. Kapoor exhibited a deep devotion to his late wife and extreme generosity to her family.

Dr. Kapoor and Mrs. Kapoor also provided generously to their foundations. Dr. Kapoor established the
Editha House, an operating foundation, in honor of his late wife. The Editha House provides affordable
lodging for adult cancer patients and their caregivers traveling to Phoenix, AZ for medical treatment. Dr.
Kapoor also provided funding to a Foundation helping poor people in India with medical care.

Compared to other successful individuals, Dr. Kapoor appeared to live a comfortable life but not an
extravagant life. Although he did not need to work financially, he continued to work creating new
companies and employment opportunities for others. He consistently expressed a desire to donate half
of his estate to charity. In fact, he donated slightly under $100 million of publicly traded shares to
charitable foundations in May 2017. Another indication of his generosity and overall character.

Over the years, Dr. Kapoor also made gifts to friends and others. In fact, he paid the college tuition and
related expenses for numerous families providing them with an opportunity and hope to live a better



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 life. Several of his employees at EJ Financial have remained with Dr. Kapoor for many years. He provided
 these employees with equity incentives over the years as well.

 I always respected Dr. Kapoor for his immediate and extended family devotion, his work ethic despite
 his financial status, his ability to create new business opportunities and employment for many people,
 his desire to support charitable causes and his willingness to help others live a better life through college
 tuition gifts.

 Hopefully, Dr. Kapoor's lifetime of hard work and giving to others will provide some mitigation relating
 to his punishment with respect to the lnsys criminal matter.



 Very truly yours

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            /!
 a ~ph Karczewski




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                           Prof. Ramesh C. Pandey, Ph.D.
                           Chairman & President, GDP Ayurvedic University
                                 New Brunswick Technology Center
                                   100 Jersey Avenue, Bldg. B-310
                                           P .O. Box 5965
                                  New Brunswick, NJ 08901-5965
                                        ramesh@gdpau.com
                                            732 476-4065
                                          732-481-5180 fax


                                   VIA FIRST CLASS MAIL

June 11,2019


UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
John Joseph Moakley U.S. Courthouse
1 Courthouse Way - Suite 2300
Boston, MA 02210
617-748-9152

Attn.: Clerk of Court

RE:    United States v. Michael Babich, et al.
       Case No.: 16-CR-10343
       Letter of Recommendation & Support, for Dr. John Nath Kapoor

To the Hon. Allison D. Burroughs,

I write this letter, regarding the above-referenced matter, in support of a man I have known for
over-40 years, who I believe is of good character, and who dealt with me in a good, an honest, a
very professional and a very fair manner over many years.

Briefly, I am Prof. Ramesh C. Pandey, Ph.D. I am a scientist, entrepreneur, and researcher in the
pharmaceutical area for over 50 years. [See my attached CV for more detail]

I was introduced to Dr. John N. Kapoor, around 1979-1980, by a friend who knew Dr. Kapoor.
At that time, I was working for the National Cancer Institute (NCI), which is part of the National
Institutes of Health (NIH), in Bethesda, MD, on certain microbial products (Daunomycin,
Fredericamycin & Maggimycin) for the treatment of Leukemia and other cancers. I wished to
pursue independent research and the production of certain medicinal products for the treatment of
cancers. Dr. Kapoor was Chairman, CEO and President ofLyphoMed, Inc., at that time.

Subsequently, in 1983, I left the NCI, and joined Abbott Laboratories, in Chicago, Illinois. Then
in 1983, I was approached by Dr. Kapoor and LyphoMed to work on producing a generic version
of Vancomyacin, a potent antibiotic. At that time, Vancomycin, was only being produced by Eli
Lilly, which had lost its patent protections a few years prior, and producing Vancomycin, was
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difficult, as the production relied upon a process 'engineering' bacteria to produce the key
compound, so it was a costly time intensive project, and no one else had been able to do it up to
that time.

Had my initial experience with Dr. Kapoor not been very positive I would not have been
interested in working with him on such a project. But, I was comfortable in dealing with Dr.
Kapoor and his associates.

I first began working with Dr. Kapoor in 1983, at which time, w..e formed a company, Xechem,
Inc., to work on the development of a generic form ofVancomycin.

I worked with Dr. Kapoor on Vancomycin and we received U.S. Food and Drug Administration
(FDA) approvals in 1987, and an anti-cancer drug, Daunomycin, (or the treatment of cancers.

Subsequently, LyphoMed was sold, I believe it was in 1989, to Fujisawa Pharmaceutical
Company ('Fujisawa'), and I was able to purchase Xechem, so that I could pursue my own plans.
I moved to New Brunswick, New Jersey in 1991, as I considered New Jersey the pharmaceutical
capital of the world.

Over a period of about ten ( 10) years and at all times, in my experience, Dr. Kapoor was honest,
fair and ethical, not just in his dealings with his business partners and employees, but to my
knowledge, in all facets of his professional life. Personally I was only interested in working in an
environment, and with people ,interested in performing to a higher standard than just meeting
standards, and Dr. Kapoor, like myself, was interested in finding and producing and providing
people with pharmaceutical products that were of high-quality and safe for the public. That is
why I was, and I still am, shocked when reading about the current litigation he was involved in.

Thank you for the time you have taken to read and consider this, my letter of recommendation, in
support of my friend and former business associate, Dr. John N. Kapoor. Should you have any
questions where I may be able to answer them, please contact me, as I would be happy to do so.


Sincerely,




Prof. Ramesh C. Pandey, Ph.D.


cc: Dr. John N. Kapoor, Counsel for Dr. John N. Kapoor & File.
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                                     f 1rst Ins1g t
June 12, 2019

To
Hon. Judge Allison Burroughs
Judge, U.S. District Court, District of Massachusetts

Dear Judge Burroughs,

I am writing to you as a character witness for Dr. John Kapoor. I have known Dr. Kapoor for over 30
years since I immigrated to the US from India. I live in Portland Oregon and currently founder and CEO of
a company called First Insight which develops electronic health records and management software for
eye doctors. Dr. Kapoor has been a role model, mentor and guide to me since I launched the company in
1994. Additionally, he was instrumental in providing me early seed funding along with a few other
individuals to get started. Over the years Dr. Kapoor has continued to help me with his advice and
business and connections to find other investors and resources to help me build the business. During
tough times he led efforts to help save the company from bankruptcy in 2001, during the aftermath of
9/11 and the economic downturn of 2008 which signi ficantly damaged our business.

In addition to his mentoring and sharing his business acumen, Dr. Kapoor taught me by example the
value of give back to the community and society at large. Over the last ten years I have followed his
example of give back. I paid it forward and have mentored and invested in several young entrepreneurs
including women and people of color (African American and Latinx), those who have a hard time getting
mentoring and capita l to grow and expand their business. I have also helped young high school students
who come from underserved and poor backgrounds in similar ways. I wouldn't have accomplished all
this without the inspiration from Dr. Kapoor.

In all these years I have seen Dr. Kapoor as nothing but a symbol of the American Dream - that if you
work hard it's possible to become successful and when you do, you share your wealth and time with
others. Dr. Kapoor has helped countless people in all these years.

I have nothing but positive things to say about Dr. Kapoor. He is a good and very generous man.

Sincerely,

/v~~-
Nitin Rai
President and CEO
First Insight Corporation




             0
First Insight Corporation                  800.920.1940       503.707.8188         www.first-insight.com
6723 NE Bennett Street, Suite 200          503.707.8600
Hillsboro, OR 97124
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              EXHIBIT 69 -
              REDACTED
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                                                               Mahendra G Shah




Dear Judge Burroughs,
                                                                     -
I have Known Dr. John Kapoor since 1987. I work with him closely from 1987
to 2003 and got to know him as a person, boss, colleague and friend. We
created and build number of pharmaceutical companies to gather as an
investor. He and his mother treated us like a part of family while we were
in Chicago.

I found John to be very hard working and dedicated to developing new
pharmaceutical products and companies to help patients . He was a pioneer in
developing generic injectable products and generic industry in 1984, which
has now become a multibillion dollar industry, employees millions of people
and has reduce health care cost significantly in US and made drugs
affordable to masses.

                         and has raised four children with good


a l so has helped a number of families to get settled down in US and become
productive US citizens. He is been very generous in helping individuals in
need, educational institut i ons, orphanages and finding cure for cancer. He
has made big impact on people's career by providing guidance, and
opportunity to succeed. He has supported number of entrepreneurs
financially to achieve their dreams and build successfu l companies.

He is been a great mentor and a boss who gave me an opportunity to succeed
as a leader, entrepreneur and investor. He encouraged me to become a CEO
and during my transition from scientist to businessman he was there to
guide me through good time and bad time. I learned from him how to become a
successful entrepreneur. During my 16 years working with him I have never
seen him doing wrong or unethical things or ask any of the employees to do
wrong things or unethical things .

I have enjoyed my time working with Dr. Kapoor as a boss, colleague and
mentor and me and my family are very great ful l to him for giving me an
opportunity.

We hope and pray Judge looks at the great contribution he has made to
American society and the pharmaceutical industry in U.S. Based on my
experience I have not seen John telling anyone to do unethical things as
portrayed during the trial.
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                                                       July 19, 2019


Dear Honorable Judge Burroughs:

I am writing in support of one of my fon:ner students, Dr. John N. Kapoor, whom I have known for
over fifty years. I know nothing of the case which was recently tried in your court, but over the
years, I have come to feel that I knew John well and have developed a great respect for him,


I earned a B.S. In Chemistry from M.I.T. In 1955, a Ph.D. In Chemistry from Columbia in 1958
and then did postdoctoral research at the Rockefeller University. In September 1962,1 joined
the newly formed Department of Medicinal Chemistry of the State University of New York as
an Assistant Professor. By July 1970, I had been promoted to Professor and from September
1969 until my retirement in September 1997, I served as Chairman of the Department. In
1967 -1968 and from September 1969 until my retirement I also was a member of the
Executive Committee of the School of Pharmacy. Shortly after I retired, the School of
Pharmacy joined a national trend in ,changing the entering degree of pharmacists from a B.S.
In Pharmacy to a D. Pharmacy degree. This required some changes in program and in
staffing and resulted in Medicinal Chemistry being removed from Pharmacy and becoming a
program in the Department of Chemistry.


In the mid 1960s, one of my duties was to review all applications for admission to our,
graduate program and to select the best qualified applicants. I remember that Kapoor's
application stood out because, in addition to indicating that he had great ability and a good
grasp of the basic pharmaceutical sciences, it was unique in that he also had completed a
program in manufacturing pharmacy. Our Department offered Kapoor admission and an offer
of support which covered his tuition and provided a small stipend to cover his living expenses.
John accepted our offer. Soon after he arrived, at the start of the next academic year, he
chose to join my research group.


John quickly made a number of friends, but, after three or four weeks, he became extremely
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homesick and depressed. For a short time, I had to press him to study. Then John's
homesickness and depression gradually disappeared, and he showed that he could readily
keep up with an exceptionally bright and competitive group of students. A little later, John
began his research. He was well organized, intensely focused, and very productive.


Most of our graduate students took a one to two week vacation most summers, but John took
no vacation for at least three years. About that time, John began occasionally discussing his
hope that after he earned his degree, he could return to India and start a company to make
pharmaceuticals and thereby help to relieve the acute shortage of modern drugs then
afflicting India and neighboring countries. Some time later, John asked me if he could take off
a month to visit his family in India. I told him that he had certainly earned the time off and that
it seemed an opportune time for him to discuss his future with his friends and relatives. I told
him that I had been told by two sources which I considered knowledgeable and reliable that it
was impossible to get foreign exchange in India. If he tried to start a company in India, at that
time, it would be impossible for him to get either equipment or starting materials. On the other
hand, I felt that he would be very successful if he chose to stay here. Finally, I pointed out that
while I believed everything which I had told him, my information was second hand, and I
hoped that while in India he would check it himself. John went to India, and immediately after
he returned, he thanked me on behalf of his parents and himself. They had confirmed the
impossibility of getting foreign exchange, and therefore he would stay in the United States.


As soon as John completed the requirements for his Ph.D. , he found employment as General
Manager at a small local company that prepared sterile unit doses of various pharmaceuticals
for use in local hospitals. We saw each other fairly regularly, and I was able to follow his
progress as he first repaired the company's physical plant and then began to focus on
improving its profit. The company was sold. The new owners wanted John to remain as
General Manager. He agreed on the condition that if they attempted to sell the company and
if he could match the best offer which they received, he would get the company. Some years
later, they decided to sell the company, and John obtained a large enough loan from Northern
Trust Bank in Chicago, to buy the company. For a number of years, John continued to
manage the company, occasionally broadening the product line and regularly improving the
company's profitability. However, John increasingly became aware of small companies which
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 he would have liked to buy to broaden his product line and to improve his profits, but he
 lacked the funds for such purchases. Eventually, John took his company, Lyphomed, public
and used a portion of the funds raised to carry out some of the purchases which he had been
considering.


Some years later, the Japanese pharmaceutical firm, Fujisawa, purchased an interest in
Lyphomed, and after observing Lyphomed closely for some time, bought Lyphomed outright
by offering a price substantially higher than its book value at that time. John Kapoor came out
of that sale with a net worth of about seventy million dollars. The bulk of these funds were
invested in E.J. Financial Enterprises, but John and his wife Editha immediately put a portion
of the funds into a charitable foundation to support causes which they believed in - for John
these included fellowships for graduate students and research support particularly support for
beginning faculty in the pharmaceutical sciences.


John has used E. J. Financial to purchase a number of relatively small pharmaceutical
companies where he saw an opportunity to improve their operations by change in
management, change in operating philosophy , or in the range of products offered,etc. He
frequently took over key technical posts himself, until he found suitable replacements.
Marketing was the one area where John usually tried to immediately bring in new people who
had successfully marketed similar products for other companies.


From the moment when John first arrived here, he has frequently expressed his gratitude for
the support which we had given him and his hope that he could help make similar
opportunities available to many other students. During the first years that I was a faculty
member here, New York gradually increased its support for the State University. Then, here,
as in most other states, support for higher education either plateaued or actually decreased.
At first. I turned to John for emergency support for a graduate student. It was not long before
he was fairly regularly supporting three graduate students (tuition plus stipends for three
graduate students totaled about $60,000./year}.


In the 1990s, the School of Pharmacy began to regularly organize fund drives. John was
asked to be a part of the organizing committee for the second of these drives. He accepted
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 and regularly flew in to attend our meetings. He also increased his donations providing funds
 to set up an instrumentation laboratory and endowments to support graduate students and to
 provide initial research support for new faculty. His support made it possible for the faculty to
 greatly increase the grant support which it won from N.I.H. After the Department of Medicinal
 Chemistry became a program in the Department of Chemistry, John's support went both to
 the program in medicinal chemistry and to a Department of Pharmaceutical Sciences in the
 School of Pharmacy. A few years later the School of Pharmacy was scheduled to move into a
 newly remodeled building. The then dean, Dr. W. Anderson, persuaded John to make a major
 contribution which together with what the State had provided enabled the building to be
 finished in a manner ideal for the teaching of clinical pharmacy. John's contributions to SUNY
 at Buffalo to that point totaled approximately eighteen million dollars.


 In 2000 or 2001, I was approached by Mr Russell Abraham who explained that he was
 recently retired but that he had worked as a high executive in the business side of one of the
companies run by John Kapoor. He was aware that John had given us a good amount of
money, and because he was greatly impressed by how hard John had worked to make the
money, his highest priority in his retirement was to travel, at his own expense, to some of the
places which had gotten large donations from John to see that John's money was not simply
being carelessly wasted. I reacted very favorably to Mr. Abraham's interest. By then, I had
been retired for three or four years, but I was still playing an active role in deciding how to use
John's funds. Mr. Abraham did spend several days here during which time I introduced him to
everyone who played a part in deciding on the use of the funds and to the people who
actually got to use the funds. I explained in plain English the basis for our decisions and the
impact attributed to the funds. For several years we sent Mr. Abraham copies of annual
reports which summarized how the funds had been used and the effects which they had
caused. He said that he was fully satisfied.


Finally, I would like to point out that throughout his career John would sometimes be so
impressed by someone's intelligence and knowledge of some technical area and would offer
them a much more senior appointment than their experience would seem to justify.
These appointments sometimes worked well, but, if they failed, John would frequently have to
step in and personally cover the position until he found a suitable replacement. To me, this
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tendency of John's is a particularly strong indication of his very generous nature.


                    Sincerely,



                     a41rt--
                    Alan J. Solo, Ph.D.


                    Emeritus Professor of Chemistry


                    State University of N.Y. At Buffalo
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ninnoblative™                                                        Innoblative Designs, Inc.
                                                     4660 N Ravenswood Ave, Chicago IL 60640
                                                                        www.innoblative.com

                                                                                    July 291\ 2019

To Whom It May Concern,


Respectfully, I am writing to share our positive experiences with John Kapoor for your
consideration at his sentencing hearing. John displayed only the utmost integrity in our
interactions with him.

Our company, Innoblative Designs, Inc., is a medical device start-up company based in Chicago.
I am a co-founder of the company, which is focused on developing new technologies to treat
cancer patients. Specifically, our technology uses radio frequency waves to thermally ablate
residual cancer cells that the surgeon may have missed while removing a tumor. For breast
cancer, for example, the device aims to treat the patient in minutes instead of weeks, with the
goal of eliminating costly radiation therapy and reducing the need for follow-on surgery. We are
looking to target many types of cancer.

John's support came at a time when we needed it most. When we began, funding was scarce.
John and his team invested their time in understanding the uniqueness of what we were
developing and how it could improve the delivery of health care. His investment helped us
through a critical stage and the feedback from he and his team was valuable. Furthermore, we
learned a lot over the years from John's success stories and experience, and it helped inspire us
to become a better company.

With his support, we were able to build an exceptional team right here in Illinois, develop the
product, and receive clearance from the FDA so that we can bring the technology to the
operating to help patients.

We appreciate John' s support in our company and in the development of such novel treatments
that we hope will change the standard of care and improve the lives of women worldwide.


Sincerely,


qvJ
Co-founder and Board Member
Innoblative Designs, Inc.
tyler@innoblative.com
(920) 450-7529
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September 23, 2019

To whom it may concern,

I first met Dr. John Kapoor in 1984. We have had many, many meetings and discussions
over the 35 years since then. They were mostly of a business manner, but a few were
somewhat personal.

Similar to most entrepreneurs, Dr. Kapoor was intensely focused on figuring out ways to
add value to people, providing them with some service or benefit that they weren't
getting elsewhere. Whether manufacturing generic drugs, creating new
pharmaceuticals, figuring out ways to deliver pharmaceuticals more effectively, or
developing new and unique dining experiences, he was passionate about creating jobs
and new things to deliver to people.

Dr. Kapoor also had a reputation for being quite philanthropic. He created a Charitable
Foundation (The John and Editha Kapoor Charitable Foundation) to primarily support
the fight against cancer, but he was also extremely supportive of higher education. I
was once told that virtually anyone could ask him for college expenses, and it was likely
he would help them.

There is no doubt that his wife's death from breast cancer left a significant impact on
him. It's one of the rare times that he was open about his vu lnerabilities, and he
expressed his desire to ease the suffering of others' with cancer.

Obviously, I have no idea what exactly went on at lnsys Therapeutics, or the extent of
Dr. Kapoor's involvement there. I simply know from over 30 years of interaction wit h
him that I never questioned his integrity or values. I never saw or experienced any
behavior that was ethically questionable. I've always considered him a very thoughtful
and intelligent businessman, constantly looking for opportunities to add value to the
marketplace.

My last meeting with him in early 2017 was no different than any meeting I had over the
previous 30 years. He spent most of the time talking about the value he felt was being
created through their existing drugs, and their new drugs in development.

I have no business incentive to write this note. My firm no longer does business with Dr.
Kapoor. And, I haven't seen or spoken to him since early 2017. It just seemed
appropriate to relay a different perspective than what I've read in the papers, and that
is based on decades of accumulated interactions.

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 avid Wilkinson
